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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11
    LIMETREE BAY SERVICES, LLC, et al.,1                               CASE NO.: 21-32351 (DRJ)
             Debtors.                                                  (Jointly Administered)

          NOTICE OF (I) DESIGNATION OF WINNING BID AND BACK-UP BIDS
            AND (II) SIXTH NOTICE OF EXTENSION OF MILESTONES AND
                           BID PROCEDURES DEADLINES

        PLEASE TAKE NOTICE that Limetree Bay Services, LLC and its affiliated debtors and
debtors in possession (collectively, the “Debtors”) each filed a voluntary petition for relief under
chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”),
in the United States Bankruptcy Court for the Southern District of Texas (the “Court”) on July 12,
2021 (the “Petition Date”).

        PLEASE TAKE FURTHER NOTICE that, on July 26, 2021, Debtors filed the Debtors’
Emergency Motion for Entry of Order: (I) Establishing Bidding and Sale Procedures; (II)
Approving the Sale of Assets; and (III) Granting Related Relief [Doc. No. 191] (the “Bidding
Procedures Motion”), seeking entry of an order, among other things, (a) approving procedures
for the solicitation of bids in connection with a sale of substantially all assets of the Debtors (the
“Sale”), (b) approving the Sale of substantially all assets of the Debtors as a going concern or
liquidation via one or more transactions, and (c) approving certain procedures for the assumption
and assignment of executory contracts and unexpired leases pursuant to Section 365 of the
Bankruptcy Code;

       PLEASE TAKE FURTHER NOTICE that, on August 11, 2021, the Court entered an
order granting the Bidding Procedures Motion (the “Bid Procedures Order”) and approving the
bidding procedures appended thereto as Appendix A (as amended, the “Bidding Procedures”)
[Doc. No. 392];2

       PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order,
Debtors effectuated a broad marketing strategy in an effort to solicit qualified bids for the




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.

2
 Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Bid Procedures
Order, Bidding Procedures, Bid Procedures Amendment Order, or Debtors’ Emergency Motion to Amend Milestones
and Bid Procedures Deadlines (Doc. No. 565), as applicable.
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acquisition of some or all of the Debtors’ assets, and as a result of these efforts, received multiple
qualified bids under the Bidding Procedures;

        PLEASE TAKE FURTHER NOTICE that, on November 18, 2021, Debtors conducted
an auction in accordance with the Bidding Procedures (the “Auction”) and, at the conclusion of
the Auction, declared St. Croix Energy, LLLP (“St. Croix”) as the Winning Bidder and,
collectively, Sabin Metal Corporation (“Sabin”) and Bay, Ltd. (“Bay”) as the Back-up Bidders;

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures Order and
Paragraph 28 of the Bidding Procedures, Debtors hereby designate (a) St. Croix as the Winning
Bidder and, (b) collectively, Sabin and Bay as the Back-up Bidders;

        PLEASE TAKE FURTHER NOTICE that the terms of the Winning Bid and Back-up
Bids are summarized on Exhibit A hereto (the “Designation of Winning Bid”) and a copy of the
asset purchase agreement memorializing the Winning Bid is attached hereto as Exhibit B;3 and

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order Granting Debtors’
Emergency Motion to Amend Milestones and Bid Procedures Deadlines [Doc. No. 583] (the “Bid
Procedures Amendment Order”), and in accordance with the terms of the Winning Bid (as
discussed in the Designation of Winning Bid), the Milestones and Bid Procedures Deadlines
established therein are hereby amended in accordance with the attached Exhibit C, and except as
amended or altered thereby, the Milestones and Bid Procedures Deadlines provided in the Notice
of Extension of Milestones and Bid Procedures Deadlines [Doc. No. 696] filed on October 28,
2021 and the Third Notice of Extension of Milestones and Bid Procedures Deadlines [Doc. No.
761] filed on November 14, 2021, shall remain unchanged.

                                          [Signature Page Follows]




3
  The Debtors shall serve the notice via U.S. Mail without a copy of Exhibit B due to its voluminous nature and the
attendant costs of reproduction and postage; however, any party in interest may obtain an electronic copy of Exhibit
B by submitting a written request via email to dmerola@bakerlaw.com or by downloading the Notice through the
website for the Debtors’ claims agent at www.bmcgroup.com/limetree.

                                                         2
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 Dated: November 30, 2021                        BAKER & HOSTETLER LLP

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                                                 Counsel for the Debtors and Debtors in
                                                 Possession


                                    Certificate of Service

       I HEREBY CERTIFY that on November 30, 2021, a true copy of the foregoing was filed
with the Court using the CM/ECF System, which will provide notice of such filing to all parties
requesting such service.

                                           /s/ Elizabeth A. Green
                                           Elizabeth A. Green
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                            EXHIBIT A

        DESIGNATION OF WINNING BID AND BACK-UP BIDS
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11
    LIMETREE BAY SERVICES, LLC, et al.,4                               CASE NO.: 21-32351 (DRJ)
              Debtors.                                                 (Jointly Administered)

                     DESIGNATION OF WINNING BID AND BACK-UP BIDS

       Limetree Bay Services, LLC and its debtor affiliates (collectively, the “Debtors”) hereby
designate the Winning Bid and Back-up Bids, as provided herein, in accordance with the Order
Granting Debtors’ Emergency Motion for Entry of Order: (I) Establishing Bidding and Sale
Procedures; (II) Approving the Sale of Assets; and (III) Granting Related Relief [Doc. No. 392]
(the “Bid Procedures Order”) and Paragraph 28 of the Bidding Procedures attached thereto as
Appendix A (the “Bidding Procedures”).5

      I.       Summary of Winning Bid

            St. Croix Energy, LLLP (“St. Croix”) is the Winning Bidder.

        The St. Croix transaction is structured as an asset sale with an expected continuation of the
business operations as a going concern upon SCE retaining the requisite personnel and securing
certain authorizations during the transition period. The following is a summary of the principal
terms of the Winning Bid, a copy of which is attached to the accompanying notice as Exhibit B
(the “APA”)6 and incorporated herein by reference:

             Purchased Assets.                     Substantially all assets of the Debtors, as identified in
                                                   Sections 1.1 and 1.2 of the APA, exclusive of Excluded
                                                   Assets. The sale shall be free and clear of any interests in
                                                   the Purchased Assets pursuant to Section 363(f) of the
                                                   Bankruptcy Code on an “as is, where is” basis, without


4
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.

5
 Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Bid Procedures
Order, Bidding Procedures, Debtors’ Emergency Motion to Amend Milestones and Bid Procedures Deadlines [Doc.
No. 565], or the Bid Procedures Amendment Order, as applicable.
6
  Unless otherwise defined herein, capitalized terms used in the summary shall have the meanings ascribed to them in
the APA. All section references in the summary shall refer to the referenced section of the APA. The summary does
not contain all material terms of the APA; accordingly, interested parties should review the APA in its entirety. In the
event of any inconsistency between the summary and the APA, the provisions of the APA shall control.
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                                   representations or warranties, except for the representations
                                   and warranties expressly set forth in the APA.
                                   Without limiting the foregoing, the Purchased Assets to be
                                   acquired as of the Closing Date include: (a) all
                                   Improvements; (b) all Parts Inventory; (c) books and records
                                   of the Debtors related to the Purchased Assets, subject to
                                   Debtors’ right to retain copies of pre-Closing books and
                                   records; (d) rights to Intellectual Property; (e) all Furniture
                                   and Equipment; (f) accounts receivables related to
                                   Purchased Assets; (g) rights, claims, causes of action, and
                                   insurance recoveries on account of Purchased Assets; and
                                   (h) any rights of the Debtors under any bids to acquire any
                                   of the Purchased Assets.

           Excluded Assets.        Excluded Asset are identified in Section 1.3 of the APA, and
                                   include, among other things, (a) cash and cash equivalents,
                                   (b) Avoidance Actions and proceeds thereof, (c) certain
                                   rights, claims and causes of action identified in Section
                                   1.3(h), (d) certain rights, claims and causes of action under
                                   insurance policies as identified in Section 1.3(i), (e) deposits
                                   and prepaid charges unrelated to any Purchased Assets,
                                   (f) tax refunds/credits unrelated to any Purchased Assets,
                                   (g) accounts receivable unrelated to the Purchased Assets,
                                   and including the J. Aron Receivables, the BP Receivables,
                                   and NRI Receivables, (h) all contract rights under the APA
                                   or any other Transaction Document or otherwise relating to
                                   the Excluded Assets or Excluded Liabilities, including
                                   rights under executory contracts and unexpired leases, and
                                   (i) all equity interests of the Debtors or any of their
                                   respective Affiliates.
                                   Subject to the provisions of Section 1.4 of the APA, St.
                                   Croix may designate Excluded Assets, including executory
                                   contracts and unexpired leases, for inclusion in the
                                   Purchased Assets without further consideration until the
                                   Designation Deadline.

           Assumed Liabilities.    None as of Closing, subject to designation of Excluded
                                   Liabilities as Assumed Liabilities pursuant to Section 1.4
                                   and terms of the TSA (defined below).

           Excluded Liabilities.   All liabilities as of Closing, subject to designation of
                                   Excluded Liabilities as Assumed Liabilities pursuant to
                                   Section 1.4 and terms of the TSA.

           Consideration.          $33,000,000.00, which is comprised of:



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                                                   $20,000,000.00 in cash at the Closing, plus
                                                   $14,000,000.00 (est.) in assumed and avoided liabilities
                                                   and expense reimbursement pursuant to the terms of a
                                                   transition services agreement, minus
                                                   $1,000,000.00 in St. Croix expense reimbursement.

           Executory Contracts and             None as of Closing, subject to designation of executory
           Unexpired Leases.                   contracts and unexpired leases for assumption and
                                               assignment under Section 1.4 and terms of the TSA.7
                                               Under the terms of the TSA, St. Croix shall be liable for all
                                               costs associated with maintaining executory contracts and
                                               unexpired leases pending assumption or rejection and any
                                               cure costs, if any executory contracts or unexpired leases are
                                               ultimately assumed and assigned to St. Croix.

           Transition Services.                The St. Croix transaction is predicated upon the Debtors
                                               continuing to provide or facilitating services in connection
                                               with the operation of the refinery pending St. Croix’s
                                               designation of operational assets (e.g., permits, contractual
                                               rights, etc.) for acquisition. The Debtors shall render the
                                               required services pursuant to a transition services agreement
                                               (the “TSA”) with St. Croix. St. Croix and the Debtors are
                                               finalizing the terms of the TSA and shall file a copy of the
                                               TSA prior to the Sale Hearing.
                                               Certain material terms of the TSA are set forth in Section
                                               1.4(i).

           Sale Hearing.                       December 7, 2021, at 4:00 p.m. CT.

           Closing.                            No later than December 17, 2021, at 5:00 p.m. ET

The Debtors and St. Croix are presently finalizing certain documents pertaining to the APA and
transaction, including the TSA; accordingly, pursuant to Exhibit C to this notice, the Debtors are
extending the deadline to file such documents under the Bidding Procedures through and including
December 3, 2021. Additionally, the Debtors are extending the deadlines associated with the
assumption and assignment of executory contracts and unexpired leases to comport with the terms
of the APA.


7
  St. Croix does not seek the assumption or assignment of any executory contracts or unexpired leases on the Closing
Date under the APA; rather, under Section 1.4 of the APA, St. Croix reserves the right to designate any executory
contracts or unexpired leases for assumption and assignment at any time prior to the Designation Deadline. The
assumption and assignment of any contracts under the APA is premised upon satisfaction of the requirements of
Section 365 of the Bankruptcy Code. To comport with the APA, the Debtors are extending the dates and deadlines
associated with the assumption and assignment of executory contracts and unexpired leases under the Bid Procedures
to the Designation Deadline.

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    II.       Summary of Back-up Bids

          Sabin Metal Corporation (“Sabin”) and Bay, Ltd. (“Bay”) are the Back-up Bidders.

        The bids presented by Sabin (the “Sabin Bid”) and Bay (the “Bay Bid” and, together with
the Sabin Bid, the “Back-up Bids”) are piecemeal bids for the acquisition and/or liquidation of
the subject assets.8 The following is a summary of the principal terms of the Back-up Bids, which
remain subject to final negotiations:

          A. The Sabin Bid

           Purchased Assets.                   Catalyst

           Excluded Assets.                    All assets of the Debtors, excluding the Catalyst.

           Assumed Liabilities.                None.

           Excluded Liabilities.               All liabilities of the Debtors.

           Consideration.                      $15,122,047.00, which is payable in two installments—
                                               (i) 50% six (6) weeks after completion of sampling of the
                                               catalyst (approximately five (5) months post-closing) and
                                               (ii) 50% upon sale of the metals recovered from the catalyst
                                               (approximately eight (8) months post-closing).
                                               Caveat: The consideration is an estimate of total recoveries
                                               from the processing of the catalyst net of processing costs
                                               and, as such, may vary depending upon, among other things,
                                               the total amount and condition of the catalyst, the amounts
                                               of precious metals recovered from the catalyst and the
                                               market value of the recovered precious metals at the time of
                                               the sale. There is no minimum consideration under the
                                               Sabin Bid. The above-described consideration is not the
                                               same as the value the Debtors ascribe to the bid, which must
                                               be adjusted to include factors such as the uncertainty in total
                                               recovery, the Debtors’ cash flow needs, and the time-value
                                               of money.

           Executory Contracts and             None
           Unexpired Leases.

           Closing.                            TBD



8
  The consideration set forth in the summary of Back-up Bids is subject to certain offsets and adjustments under the
proposed transaction, including, without limitation, adjustments to reflect the risks of recovery and present value of
the proposed payments over time. As such, the Debtors are not representing that the stated consideration is the net
value of the Back-up Bids to the estates or that the estates are guaranteed to receive the estimated consideration.

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         B. The Bay Bid

           Purchased Assets.       All tangible personal property assets of the Debtors,
                                   excluding the Catalyst, subject to adjustment prior to
                                   Closing.

           Excluded Assets.        All assets of the Debtors, other than Purchased Assets,
                                   including the Catalyst, real property, and intangible personal
                                   property assets; provided that Bay retains the rights to add
                                   or remove certain items from the Purchased Assets without
                                   further consideration.

           Assumed Liabilities.    Limited assumption of liabilities, including Cure Amounts
                                   and certain adequate assurance payments related to any
                                   assumed and assigned contracts or leases; transfer taxes; and
                                   certain liabilities traceable to Purchaser’s conduct.

           Excluded Liabilities.   All other liabilities of the Debtors.

           Consideration.          An amount up to $24,760,000.00, which is comprised of:
                                      $3,200,000.00 in cash at the Closing, plus
                                      55% of net proceeds in excess of $3,000,000, not to
                                      exceed $21,560,000, from the liquidation of non-scrap
                                      assets, including equipment, inventory and rolling stock,
                                      subject to certain exclusions.
                                   In addition to the foregoing, in the event that Bay is
                                   permitted to draw upon the USVI Letter of Credit, Bay
                                   agrees to pay Debtors 50% of any proceeds after deducting
                                   the expenses of removing Hazardous Materials, up to $3
                                   million. This recovery is, however, contingent on events
                                   outside the Debtors’ control.
                                   The Debtors anticipate that the consideration will be paid
                                   over a period of three (3) years following the closing date.
                                   Caveat: The consideration is an estimate of recoveries from
                                   the liquidation of Purchased Assets, subject to certain
                                   exclusions, and, as such, the ultimate consideration may
                                   vary depending upon the liquidation values of the subject
                                   Purchased Assets. Further, the net consideration is
                                   dependent upon the payment of certain costs and expenses
                                   associated with the removal of the Purchased Assets, which
                                   are unknown and, as such, not factored into the gross
                                   consideration stated herein. Accordingly, the above-
                                   described consideration is not the same as the value the
                                   Debtors ascribe to the bid, which must be adjusted to include
                                   those expenses and other factors such as the uncertainty in

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                                     total recovery, the Debtors’ cash flow needs, and the time
                                     value of money.

           Executory Contracts and   TBD
           Unexpired Leases.

           Closing.                  TBD




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                             EXHIBIT B

            WINNING BID/ASSET PURCHASE AGREEMENT
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                   ASSET PURCHASE AGREEMENT


                            by and among


                  LIMETREE BAY SERVICES, LLC,
             LIMETREE BAY REFINING HOLDINGS, LLC,
            LIMETREE BAY REFINING HOLDINGS II, LLC,
                  LIMETREE BAY REFINING, LLC,
          LIMETREE BAY REFINING OPERATING, LLC, AND
            LIMETREE BAY REFINING MARKETING, LLC,
                               as Sellers


                                 and


                     ST. CROIX ENERGY, LLLP,
                             as Purchaser


                    Dated as of November [__], 2021
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EXHIBITS AND SCHEDULES

Appendix 1            Defined Terms

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Exhibit C             Form of Transition Services Agreement

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Seller Disclosure Letter




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                              ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT (“Agreement”) is made as of November [__],
2021, by and among Limetree Bay Services, LLC, a Delaware limited liability company (“LBS”),
Limetree Bay Refining Holdings, LLC, a United States Virgin Islands limited liability company
(“LBRH”), Limetree Bay Refining Holdings II, LLC, a United States Virgin Islands limited
liability company (“LBRH II”), Limetree Bay Refining, LLC, a United States Virgin Islands
limited liability company (“LBR”), Limetree Bay Refining Operating, LLC, a United States Virgin
Islands limited liability company (“LBRO”), Limetree Bay Refining Marketing, LLC, a United
States Virgin Islands limited liability company (“LBRM”, along with LBS, LBRH, LBRH II, LBR
and LBRO, each a “Seller” and collectively, “Sellers”), and St. Croix Energy, LLLP, a domestic
limited liability limited partnership, and its permitted assignees pursuant to Section 10.5
(collectively, “Purchaser” and, the Purchaser together with Sellers, each a “Party” and collectively,
the “Parties”). Capitalized terms used but not otherwise defined in the text of this Agreement have
the meanings set forth in Appendix 1 attached hereto, which is incorporated herein and made a
part of this Agreement.

                                          RECITALS

       A.      Sellers own and operate an oil refinery located on the island of St. Croix in the
United States Virgin Islands (collectively, the “Business”).

        B.     On July 12, 2021 (the “Petition Date”), Sellers filed voluntary petitions for relief
under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”), which cases are jointly administered under In re
Limetree Bay Services, LLC, Case No. 21-32351.

        C.      On November 14, 2021, Purchaser presented an executed Asset Purchase
Agreement, pursuant to which Purchaser presented an irrevocable offer to purchase from Sellers
certain assets and assume from Sellers certain liabilities related thereto (the “Initial Asset Purchase
Agreement”), subject to the terms of the proposed Initial Asset Purchase Agreement, the Order
Granting Debtors’ Emergency Motion for Entry of Order: (I) Establishing Bidding and Sale
Procedures; (II) Approving the Sale of Assets; and (III) Granting Related Relief (the “Bid
Procedures Order”) and bidding procedures appended thereto (the “Bid Procedures”).

        D.     On or about November 14, 2021, Sellers filed a motion in the Bankruptcy Court to
designate the Initial Asset Purchase Agreement as the stalking horse bid and approve certain buyer
protections (described therein) under the terms of the Bid Procedures Order and Bid Procedures.

       E.      On or about November 17, 2021, Sellers conducted an auction in accordance with
the terms of the Bid Procedures, during which the Initial Asset Purchase Agreement was
designated the Winning Bid and Purchaser the Winning Bidder (as such terms are defined in the
Bid Procedures).

        F.     On the terms and subject to the conditions set forth in this Agreement, (i) the Parties
wish to enter into this Agreement to update and supersede the Initial Asset Purchase Agreement
on the terms set forth herein, (ii) Purchaser desires to purchase from Sellers, and Sellers desire to
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sell to Purchaser, the Purchased Assets and (iii) Purchaser desires to assume, and Sellers desire to
assign and transfer to Purchaser, the Assumed Liabilities (the “Purchase”).

        G.      It is intended that the acquisition of the Purchased Assets will be accomplished
through the sale, transfer and assignment of the Purchased Assets by Sellers to Purchaser, or its
designee or designees, in a sale undertaken pursuant to Section 363 of the Bankruptcy Code and
that certain executory contracts and unexpired leases will be assumed by Sellers and assigned to
Purchaser pursuant to Section 365 of the Bankruptcy Code in connection therewith.

                                        AGREEMENTS

       NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the Parties agree as follows:


                                            ARTICLE I
                                     Purchase and Sale of Assets

        1.1    Agreement to Purchase and Sell. On the terms and subject to the conditions
contained in this Agreement, Purchaser agrees to purchase from Sellers, and Sellers agree to sell,
transfer and convey to Purchaser, all of the Sellers’ assets, properties, rights and interests identified
in Section 1.2, effective as of the Closing Date, wherever situated or located (collectively, the
“Purchased Assets”). The Purchased Assets shall be sold, transferred and conveyed to Purchaser
free and clear of any and all Liens and Claims, in each case to the fullest extent permitted under
the Bankruptcy Code and resulting from the Sale Order, other than Permitted Liens and Assumed
Liabilities.

        1.2    Description of Purchased Assets. The Purchased Assets shall include the following
assets owned by Sellers as of the entry of the Sale Order, except to the extent that any of the
following are specifically enumerated in Section 1.3 as being Excluded Assets:

               (a)    each Contract listed or described on Schedule 1.2(a) (collectively, the
         “Business Contracts”);

                 (b)     the real property described on Schedule 1.2(b), together with such
         easements, appurtenances, right and other hereditaments appurtenant to such real property
         that are expressly described on Schedule 1.2(b) or otherwise imposed by Law (collectively,
         the “Purchased Real Property”);

                   (c)   all Improvements;

                (d)    each real property lease and sublease listed or described on Schedule 1.2(d)
         (“Real Property Leases”);

                   (e)   all Parts Inventory;

                 (f)     the Files and Records, whether in hard copy or electronic format, except
         that, with respect to Files and Records that any Seller or any of its Affiliates is required by


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         Law or Order to retain, the Purchased Assets shall include copies of such Files and Records
         to the extent permitted by any applicable Law or Order; provided, that any Seller shall be
         permitted to retain a copy of any such Files and Records that such Seller requires in
         connection with any of the Excluded Assets;

               (g)     all Permits (and any pending applications for Permits) described on
         Schedule 1.2(g) (the “Business Permits”);

               (h)      the rights to the Intellectual Property listed on Schedule 1.2(h) (the
         “Business Intellectual Property”);

               (i)     the rights to Information Technology listed on Schedule 1.2(i) (the
         “Business IT Assets”);

                 (j)      all Furniture and Equipment owned by a Seller that is located at the Seller
         Facilities or that is otherwise primarily used or held for use in the Business (other than the
         Excluded Furniture and Equipment);

                 (k)     all accounts receivables, trade receivables, notes receivables, and other
         miscellaneous receivables, whether current or overdue, in each case, solely to the extent
         related to any of the Purchased Assets set forth in Section 1.2(a)-(j), and all pre-paid assets
         of any Seller, solely to the extent related to any of the Purchased Assets set forth in Section
         1.2(a)-(j), which, for the avoidance of doubt, excludes any right to or interest in any
         Excluded Assets;

                (l)     all rights, claims, defenses, causes of action, rights of offset and
         counterclaims (at any time or in any manner arising or existing, whether choate or inchoate,
         known or unknown, contingent or non-contingent) of each Seller, but excluding any
         Avoidance Actions and proceeds thereof, in each case solely (i) with respect to any of the
         Purchased Assets set forth in Sections 1.2(a)-(k) and (ii) to the extent first arising with
         respect to incidents, actions or omissions that occur on or after the Closing Date (the
         “Purchased Claims”);

                 (m)    all insurance recoveries, other than the Excluded Insurance Recoveries,
         under each Seller’s or its Affiliates’ insurance policies, in each case solely with respect to
         any of the Purchased Assets set forth in Sections 1.2(a)-(k), and any rights to assert claims
         with respect to any such insurance recoveries;

                (n)     all rights under and to any bids, offers, options, or other contracts to
         purchase or sell any Purchased Asset, including any of the offers received at the Auction;
         and

                 (o)     the general books and records and the books of account and books of
         original entry that comprise a Seller’s permanent Tax records, in each case, solely to the
         extent related to the Purchased Assets or Assumed Liabilities; provided, that any Seller
         shall be permitted to retain a copy of any such pre-Closing books and records.



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       1.3     Excluded Assets. The “Excluded Assets” means all of the assets, properties, rights
and interests of the Sellers as of the Closing Date, wherever situated or located, other than the
Purchased Assets, including, but not limited to, the following items and assets:

                   (a)   all cash, certificates of deposit or other cash equivalents;

                   (b)   any real property other than the Business Real Property;

                (c)   all personal property, equipment and inventory not included in the
         Purchased Assets;

                (d)    notwithstanding anything to the contrary in Section 1.2, all Avoidance
         Actions and proceeds thereof;

                (e)    all rights under any Contract to which any Seller is a party that is not a
         Business Contract or a Real Property Lease;

                 (f)    general books of account and books of original entry that comprise a
         Seller’s permanent Tax records, corporate minute books, stock books and related
         organizational documents and the books and records that any Seller is required to retain
         pursuant to any Law or Order and the books and records solely to the extent not related to
         the Purchased Assets or the Assumed Liabilities;

                (g)      all personnel records of employees, former employees or consultants of
         each Seller;

                 (h)     all rights, claims, causes of action, remedies, defenses, rights of offset and
         counterclaims (at any time or in any manner arising or existing, whether choate or inchoate,
         known or unknown, contingent or non-contingent) of each Seller or its estate against any
         Person, together with recoveries therefrom, including, without limitation, against any
         current or former equity holders, lenders, employees, professionals, advisors, agents,
         officers, directors, managers, contractors, suppliers or other contractual counterparties of
         any Seller or any Affiliate of any Seller relating to, without limitation, negligence,
         misrepresentation, fraud, malpractice, breach of contract, breach of fiduciary duty, breach
         of the duty of loyalty, breach of the duty of care, breach of the implied covenant of good
         faith and fair dealing, mandatory subordination, equitable subordination, equitable
         disallowance or recharacterization; provided that this Section 1.3(h) shall not include any
         Purchased Claims; provided, further, that any remaining rights of the Official Committee
         of Unsecured Creditors (the “Committee”) to assert a “Challenge” under the Final Order
         (I) Authorizing the Debtors to (A) Obtain Postpetition Senior Superpriority Financing and
         (B) Use Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,
         (III) Modifying the Automatic Stay, and (IV) Granting Related Relief (Doc. No. 495 filed
         in the Bankruptcy Cases) are fully preserved and shall not constitute Purchased Assets;

                (i)     all rights, claims, causes of action, remedies, defenses, rights of offset and
         counterclaims (at any time or in any manner arising or existing, whether choate or inchoate,
         known or unknown, contingent or non-contingent) of each Seller or its estate against any
         Person, together with recoveries therefrom, under any insurance policies of any Seller or

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         any Affiliate of any Seller, to the extent related to or arising from any business interruption
         (including, without limitation, any business interruption coverage under any property
         damage policies), errors and omissions or directors’ and officers’ liability insurance
         policies, or property damage, and any rights to assert claims with respect to any such
         insurance recoveries; provided, that any recovery on account of property damage related
         to any Purchased Assets shall be limited solely to (i) recoupment of amounts actually paid
         (as evidenced by written invoices or receipts therefor or other written documentation
         thereof) by Sellers in connection with the repair, rehabilitation or remediation of the subject
         Purchased Assets, which amounts shall only be payable if (x) the Bankruptcy Court holds
         that Sellers are entitled to recovery of such amounts notwithstanding any unpaid self-
         insurance retention, or (y) Purchaser has recouped all amounts paid by Purchaser in
         connection with the repair, rehabilitation or remediation of the subject Purchased Assets
         and compensable under the subject insurance policy, and additional coverage remains
         under the applicable insurance policies, and (ii) any related business interruption claims
         (such rights, claims, causes of action, remedies, defenses, rights of offset, counterclaims
         and insurance recoveries pursuant to this Section 1.3(i), the “Excluded Insurance
         Recoveries”);

                 (j)     all claims for refund or credit of (i) income Taxes of each Seller and its
         Affiliates for any taxable period and (ii) non-income Taxes of each Seller and its Affiliates
         with respect to a Pre-Closing Period;

                   (k)   the Excluded Intellectual Property;

                   (l)   the Excluded IT Assets;

                (m)    each Seller’s or any of its Affiliates’ rights under this Agreement or any
         Transaction Document or relating to the Excluded Assets or the Excluded Liabilities;

                 (n)     all deposits (including security deposits, rent, electricity, telephone or
         otherwise and retainers held by attorneys, accountants, financial advisors and other
         professional advisors retained by any Seller or by any creditors’ committee in the
         Bankruptcy Case) and other prepaid charges of each Seller, in each case other than with
         respect to the Purchased Assets described in Section 1.2(k), provided, for the avoidance of
         doubt, that any returned insurance premiums paid prior to the Closing Date shall constitute
         Excluded Assets;

                (o)     any assets of each Seller in a directors and officers liability insurance policy,
         executive or incentive compensation, bonus, deferred compensation, pension, retiree
         medical, stock option or other stock purchase plan or other employee benefit plan;

                (p)     the Furniture and Equipment set forth on Schedule 1.3(p) (the “Excluded
         Furniture and Equipment”);

                  (q)    all accounts receivables, trade receivables, notes receivables, and other
         miscellaneous receivables, whether current or overdue, and all pre-paid assets of each
         Seller, in each case, except to the extent within the scope of Section 1.2(k), but including,


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         for the avoidance of doubt, the J. Aron Receivables, the BP Receivables, and NRI
         Receivables;

                (r)   all Permits (and any pending applications for Permits) other than the
         Business Permits;

                 (s)     all attorney client privilege and attorney work product protection of each
         Seller or associated with the Business (as currently or formerly conducted) as a result of
         legal counsel representing a Seller or the Business (as currently or formerly conducted),
         and all Files and Records related thereto subject to such attorney client privilege or work
         product protection; provided that any privilege or work product that exclusively relates to
         the Purchased Assets or the Assumed Liabilities or that is necessary to operate the Business
         (other than such privileges, protections and related Files and Records related to or in
         connection with the transactions contemplated by this Agreement or any Transaction
         Document) shall not be deemed to be an Excluded Asset whether or not in connection with
         the transactions contemplated by this Agreement or any Transaction Document; and

                 (t)     all shares of capital stock or other equity interests in any Seller or any
         Affiliate thereof or any securities convertible into, exchangeable or exercisable for shares
         of capital stock or other equity interests in any Seller or any Affiliate thereof.

For clarification purposes and without implication that the contrary would otherwise be true, it is
understood and agreed that all rights and remedies with respect to the Excluded Assets or the
Excluded Liabilities shall be retained by Sellers and shall not be transferred to Purchaser hereunder
unless and until designated as a Purchased Asset or Assumed Liability pursuant to Section 1.4(h).

         1.4       Contract and Asset Designation Rights.
                 (a)      No later than three (3) Business Days following the execution of this
         Agreement, Sellers shall deliver to Purchaser a list of any Contracts Sellers that are material
         to the Business, any Purchased Assets, and any Assumed Liabilities, including the Cure
         Amounts associated with each such Contract subject to Section 365 of the Bankruptcy
         Code. Sellers shall cooperate with, and, as promptly as practicable, provide Purchaser with
         such access and information reasonably requested by it in order for Purchaser to identify
         each of the material Contracts related to the Business, any Purchased Assets and any
         Assumed Liabilities, and subject to assumption or rejection hereunder, including providing
         copies of all such Contracts, and in order for Purchaser to confirm any associated Cure
         Amounts. Prior to the Designation Deadline (as defined below), Sellers shall supplement
         such list to add any Contracts entered into by Sellers during the pendency of the Bankruptcy
         Cases that are material to the Business, any Purchased Assets, or any Assumed Liabilities,
         and update any information pertaining to Contracts entered into prior to Closing.

                 (b)     Any motions filed by Sellers with, and any proposed orders submitted by
         Sellers to, the Bankruptcy Court seeking authorization after the date hereof to assume or
         reject any Contracts shall be satisfactory in form and substance to Purchaser in its
         reasonable discretion. No later than three (3) Business Days following Purchaser’s
         designation of any Contract for assumption by the Sellers and assignment to Purchaser
         (each such Contract, a “Designated Contract”), the Sellers shall cause notice to be provided

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         to all known or reasonably ascertainable counterparties to such Contract regarding the (i)
         assumption and assignment to Purchaser of such Contract and (ii) setting forth the Cure
         Amounts associated with such Contract as of the Sale Hearing (or as of such later date
         reasonably acceptable to Purchaser and Sellers). If Purchaser is designated the Winning
         Bidder following the Auction, Sellers shall consult with, and give due consideration to the
         views and concerns of, Purchaser prior to compromising or commencing any Action with
         respect to any material payment required to be made under the Bankruptcy Code to
         effectuate the assumption of any such Contract, including using commercially reasonable
         efforts to provide no less than three (3) Business Days’ notice of any such compromise or
         Action to Purchaser; provided, that Sellers shall not have any obligation to attempt to
         resolve any issues with respect to or commence or prosecute any Action concerning any
         material payment required to be made under the Bankruptcy Code to effectuate the
         assumption or assignment of any such Contract, it being acknowledged and agreed that
         Purchaser is solely responsible for resolving any disputes pertaining such payments,
         including the payment of any Cure Amounts.

                (c)    For the purpose of determining whether a Contract of Sellers shall be
         included as a Purchased Asset or an Excluded Asset, from and after the filing of the
         Approval Motion, all such Contracts shall be treated as follows:

                           (i)    No later than one (1) Business Day prior to the Closing Date,
                   Purchaser shall notify Sellers in writing of those Contracts which Purchaser desires
                   to be designated to be assumed by Sellers and assigned to Purchaser on the Closing
                   Date.

                           (ii)    No Contracts entered into during the pendency of the Bankruptcy
                   Cases shall be designated to be assigned to Purchaser unless Purchaser notifies
                   Sellers in writing that it will purchase such Contract prior to the Closing Date, in
                   which case Sellers shall seek authority to assign such Contract to Purchaser.

                           (iii) Until the date that is 150 days following the Closing Date (the
                   “Designation Deadline”); provided that the Designation Deadline may be extended
                   by Purchaser in its sole discretion for up to two successive 90 day periods subject
                   to Purchaser’s continued reimburse of Sellers for any and all costs and expenses of
                   retaining Contracts, and all Liabilities that arise in the ordinary course of business,
                   during such extension period, as provided in the Transition Services Agreement
                   including all administrative costs of the Bankruptcy Cases (i.e., the U.S. Trustee’s
                   fees, and expenses of Sellers’ professionals, including legal counsel) as and to the
                   extent such costs are contemplated in the Sellers’ Budget for the Bankruptcy Cases
                   attached hereto as Exhibit A (the “Budget”)). Purchaser shall have the right to
                   designate additional Designated Contracts for no additional Consideration, except
                   for the obligations set forth under the Transition Services Agreement and the
                   payment of Cure Amounts associated with any Designated Contracts. Any such
                   Designated Contracts will be deemed to be included as a Business Contract or a
                   Real Property Lease, as applicable, and included as a Purchased Asset hereunder.




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                           (iv)    All other Contracts not expressly assumed by Purchaser prior to the
                   Designation Deadline (each a “Disclaimed Contract”) shall be deemed to be
                   Excluded Assets. With respect to each Contract that is an Excluded Asset, Sellers
                   hereby agree that, without the prior written consent of Purchaser, they shall not,
                   and shall not permit any of their respective Affiliates to, reject any such Contract
                   prior to the earlier to occur of the expiration of (x) the Designation Deadline and
                   (y) the date that Purchaser provides written notice designating such Contract as a
                   Disclaimed Contract.

         Purchaser shall provide, with respect to any Designated Contract, such information or
         documentation related to “adequate assurance of future performance” as shall be
         reasonably required in connection with the assumption and assignment of such Contract,
         and upon Bankruptcy Court approval for the assumption and assignment thereof to
         Purchaser, any such Designated Contract shall be deemed to be a Business Contract and to
         constitute a Purchased Asset hereunder. Notwithstanding anything to the contrary set forth
         in this Agreement, to the extent that, prior to Closing, any Contract is not subject to an
         order of the Bankruptcy Court with respect to the assumption and assignment of such
         Contract, any Liabilities of Sellers related to such Contract shall be the responsibility of
         Sellers until such Contract is either assumed by Sellers and assigned to Purchaser or
         rejected by Sellers as permitted pursuant to this Section 1.4(c); provided that,
         notwithstanding the foregoing, Purchaser shall reimburse Sellers for any and all costs and
         expenses of retaining such Contracts, and all Liabilities that arise in the ordinary course of
         business, as provided in the Transition Services Agreement until the earlier to occur of (x)
         five (5) Business Days following the date that Purchaser provides written notice
         designating any such Contract as a Disclaimed Contract and (y) the date that is five (5)
         Business Days after the Designation Deadline.

                 (d)    At Closing, to the extent not previously paid, Purchaser shall pay or cause
         to be paid (and shall reimburse or cause to be reimbursed to Sellers any amounts paid after
         the date hereof in respect of) any and all Cure Amounts in respect of all Designated
         Contracts then identified. Additionally, following the Closing, Purchaser shall pay or cause
         to be paid (and shall reimburse or cause to be reimbursed to Sellers any amounts paid after
         the date hereof in respect of) any and all Cure Amounts in respect of all Designated
         Contracts as they become so designated and assigned to Purchaser. Purchaser’s obligations
         under this Section 1.4(d) shall be in addition to any obligations under the Transition
         Services Agreement.

                 (e)    Nothing in this Agreement shall be construed as an attempt by Sellers to
         assign any Contract to the extent that such Contract is not assignable under the Bankruptcy
         Code or otherwise without the consent of the other party or parties thereto, and the consent
         of such other party has not been given or received, as applicable. With respect to any
         Contract for which the consent of a party thereto to the assignment thereof shall not have
         been obtained at Closing and any claim, right or benefit arising thereunder or resulting
         therefrom, Sellers and Purchaser shall use their reasonable good faith efforts to obtain as
         expeditiously as possible the written consent of the other party or parties to such Contract
         necessary for the assignment thereof to Purchaser; provided Purchaser shall be ultimately
         responsible for obtaining any such consent(s). Unless and until any such consent, waiver,

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         confirmation, novation or approval is obtained, Sellers and Purchaser shall cooperate to
         establish an arrangement reasonably satisfactory to Sellers and Purchaser under which
         Purchaser would obtain the claims, rights and benefits and assume the corresponding
         Liabilities and obligations thereunder (including by means of any subcontracting,
         sublicensing or subleasing arrangement). In such event, (i) Sellers will hold in trust for
         and promptly pay to Purchaser, when received, all moneys received by them under any
         such Contract or any claim, right or benefit arising thereunder, (ii) Purchaser will promptly
         pay, perform or discharge, when due, any and all obligations and Liabilities arising
         thereunder, other than those being contested in good faith, and (iii) Purchaser shall
         reimburse Sellers for all reasonable costs and expenses, including fees and costs of
         professionals, incurred by Sellers in connection with any such Contract. Purchaser
         acknowledges that no adjustment to the Purchase Price shall be made for any such
         Contracts that are not assigned and that Purchaser shall have no claim against Sellers in
         respect of such unassigned Contracts. Nothing in this paragraph shall be deemed a waiver
         of Purchaser’s right to receive an effective assignment of all of the Purchased Assets at
         Closing, save and except for any Contracts that Sellers are unable to assume or assign to
         Purchaser under applicable Law or order of any court of competent jurisdiction, nor shall
         any Contracts covered by this paragraph be deemed to constitute Excluded Assets solely
         by virtue of this paragraph. Sellers’ obligations under this paragraph shall terminate on the
         date that is 150 days after the Closing Date.

               (f)    Promptly following the Designation Deadline, Purchaser shall file with the
         Bankruptcy Court a final list of all Business Contracts and Real Property Leases.

                  (g)     Notwithstanding anything to the contrary in this Section 1.4, Sellers shall
         have no obligation to renew, replace or extend the term of any Contracts or otherwise
         preserve or prevent the expiration of any Contracts, or incur any costs, expenses or other
         liabilities or obligations associated with any Contracts not reimbursable by Purchaser under
         this Agreement or the Transition Services Agreement.

                  (h)     Until the Designation Deadline, for no additional consideration, except for
         any obligations under the Transition Services Agreement or Cure Amounts due in
         connection with the subject assets, Purchaser shall be entitled to amend Schedules 1.2(b),
         1.2(g), 1.2(h) and 1.2(i), or any other Schedule(s) affected by such designation, and to
         designate (by delivery of written notice to Sellers of such designation) additional assets
         and liabilities to assume and have assigned to Purchaser by Sellers, which assets and
         liabilities will thereinafter be deemed to constitute “Purchased Assets,” and “Assumed
         Liabilities,” hereunder, as appropriate, notwithstanding the fact that such assets and
         liabilities previously may have been considered Excluded Assets or Excluded Liabilities
         hereunder and any and all Schedule(s) affected by such designation shall be deemed
         amended automatically upon receipt of such notice without further action by the Parties or
         order of the Bankruptcy Court; provided, however, that Purchaser shall not be entitled to
         designate any Excluded Assets under Sections 1.3(a), (d), (j), (m), (n), (o), or (q) as
         Purchased Assets without the express prior written consent of Sellers and, until all
         obligations owing to the DIP Agent have been indefeasibly paid and discharged in full,
         DIP Agent; provided, further, that the Purchaser shall in no event be entitled to designate
         any Excluded Assets under Sections 1.3(h) or (i) as Purchased Assets, and any amendment

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         or waiver with respect to Sections 1.3(h) or (i) shall require the express prior written
         consent of the Prepetition Secured Parties and, until all obligations owing to the DIP Agent
         have been indefeasibly paid and discharged in full, DIP Agent. In the event of any
         designation pursuant to Section 1.4, Sellers reserve the right to amend or supplement any
         Schedule(s) or disclosures under this Agreement or any Transaction Documents solely to
         account for such designation, which amendment or supplement shall be deemed made as
         of the date hereof. For the avoidance of doubt, this Section 1.4(h): (i) shall not apply to
         designation of Contracts as assumed or excluded, which shall occur in accordance with the
         procedures set forth in Sections 1.4(a)-(g) above, and (ii) shall not result in any adjustments
         to the Purchase Price.

                 (i)     On the Closing Date, the Parties shall enter into a Transition Services
         Agreement, on terms mutually acceptable to the Parties, which shall provide, among other
         terms, (i) Purchaser shall perform any and all obligations of the Sellers under any Contracts
         from and after the Closing until such Contract is designated as a Disclaimed Contract, (ii)
         Purchaser shall pay certain expenses associated with the maintenance or operations of the
         Refinery or other assets of the Debtors from and after Closing until the date that is five (5)
         Business Days after the Designation Deadline (unless such asset is designated a Purchased
         Asset, which case Purchaser shall be exclusively responsible for such assets and any related
         costs and expenses on and after such designation), (iii) Purchaser shall reimburse Sellers
         for any and all costs and expenses incurred in connection with any Contract on or after the
         Closing Date until such Contract is designated as a Disclaimed Contract, (iv) Purchaser
         shall indemnify and hold harmless Sellers, and each of them, and each of their respective
         officers, directors, employees, agents, professionals and any other individual or entity
         acting by or through or on behalf of Sellers, or any of them (collectively, the “Indemnified
         Parties”), from any and all actions, causes of action, claims, demands, damages, judgments,
         Liabilities, debts, dues and suits of every kind, nature and description whatsoever, arising
         directly or indirectly out of the Purchaser’s performance of any Contracts or Purchaser’s
         or Sellers’ actions that are required to be taken pursuant to the Transition Services
         Agreement on or after the Closing Date, (v) release of the Indemnified Parties from any
         and all actions, causes of action, claims, demands, damages, judgments, Liabilities, debts,
         dues and suits of every kind, nature and description whatsoever, arising directly or
         indirectly out of arising out of the Indemnified Parties’ actions in connection with the
         Contracts or any actions taken pursuant to the Transition Services Agreement on or after
         the Closing Date, and (vi) the effectiveness of the Transition Services Agreement shall be
         subject to approval of the Bankruptcy Court as a Transaction Document. For the avoidance
         of doubt, to the extent there is any conflict between the terms of this Section 1.4(i) and the
         terms of the Transition Services Agreement, the terms of the Transition Services
         Agreement shall govern.


                                            ARTICLE II
                                       Assumption of Liabilities

       2.1     Agreement to Assume. At the Closing, Purchaser shall assume and agree to pay,
perform and discharge when due, solely the liabilities and obligations of Sellers described in
Section 2.2 (the “Assumed Liabilities”). Purchaser shall only be liable for Assumed Liabilities.

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All other liabilities and obligations of Sellers, including those enumerated in Section 2.3, are
collectively referred to herein as “Excluded Liabilities”. Purchaser shall not assume, be deemed
to have assumed, or otherwise be responsible for, any Excluded Liabilities unless and until
designated as an Assumed Liability in accordance with Section 1.4(h).

        2.2    Description of Assumed Liabilities. The following liabilities and obligations of
Sellers (and only the following liabilities and obligations) shall constitute the Assumed Liabilities:

                  (a)     all Liabilities (including for the avoidance of doubt, all Environmental
         Liabilities) relating to or arising out of the Purchased Assets on or after the Closing Date
         (or, in the case of any Purchased Assets that are designated for assignment or transfer to
         Purchaser following the Closing, after the date of such assignment or transfer, except as
         otherwise provided in the Transition Services Agreement);

                   (b)   all Post-Closing Litigation Liabilities with respect to the Purchased Assets;

                (c)    all Cure Amounts with respect to the Business Contracts and the Real
         Property Leases;

                (d)     all costs and expenses necessary in connection with providing “adequate
         assurance of future performance” with respect to the Business Contracts and Real Property
         Leases (as contemplated by Section 365 of the Bankruptcy Code) for the period
         commencing on or after the Closing;

                  (e)    all Liabilities related to the Business Contracts, Real Property Leases and
         Business Permits, arising out of or relating to any act, omission, circumstance or other
         Event occurring on or after the Closing Date (in the case of Contracts that are ultimately
         designated as Disclaimed Contracts, Purchaser shall reimburse Sellers for all Liabilities
         that arise in the ordinary course of business after the Closing through and including the
         earlier to occur of (x) five (5) Business Days following the date that Purchaser provides
         written notice designating any such Contract as a Disclaimed Contract and (y) the date that
         is five (5) Business Days after the Designation Deadline);

                 (f)     all accounts payable to Sellers’ third party trade creditors that relate to the
         Purchased Assets and are in respect of goods or services that are provided to or for the
         benefit of the Purchaser following the Closing (or, in the case of Purchased Assets that are
         designated as such after the Closing, following the date such Purchased Asset is transferred
         to Purchaser), including any unresolved vendor rebates or credits associated with such trade
         creditors that are unpaid, uncollected or unresolved, as the case may be, at the Closing (or,
         in the case of Purchased Assets that are designated as such after the Closing, following the
         date such Purchased Asset is transferred to Purchaser);

                   (g)   any Transfer Taxes;

                 (h)     any Liability for any Tax or Taxes arising out of or relating to the ownership
         of the Purchased Assets with respect to any Post-Closing Period (or, in the case of any
         Purchased Assets that are designated for assignment to Purchaser following the Closing,
         after the date of such assignment); provided that any liability under the Refinery Operating

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         Agreement for any Post-Closing Period shall not be considered a Tax Liability arising out
         of the ownership of the Purchased Assets unless and until the Refinery Operating
         Agreement is designated as a Designated Contract; and

                 (i)     all Environmental Liabilities arising out of or relating to any act, omission
         or circumstance that occurred solely with respect to the Purchased Assets prior to the
         Closing (or, in the case of any Purchased Assets that are designated for assignment to
         Purchaser following the Closing, prior to the date of such assignment), including for the
         avoidance of doubt, the presence of Hazardous Materials arising from Sellers’ or its
         predecessors’ former refinery operations and located at the Purchased Assets, solely to the
         extent such Liabilities are exacerbated, triggered, increased, or have their timing
         accelerated by any act or omission of, or any delay caused by, Purchaser or any of its
         Affiliates, their respective successors or assigns or their respective Representatives
         following the Closing (or, in the case of any Purchased Assets that are designated for
         assignment to Purchaser following the Closing, after the date of such assignment); provided,
         that, all Environmental Liabilities arising out of or relating to Events or conditions
         occurring or existing prior to Closing shall not be Assumed Liabilities solely by virtue of
         Purchaser discovering, identifying or quantifying such Environmental Liabilities through
         sampling of environmental media if such sampling is (i) required by Environmental Law
         or by a Governmental Entity, (ii) required to be conducted in response to a Third Party
         Claim alleging that Hazardous Materials have migrated offsite from the Business Real
         Property, or (iii) performed to assess known or reasonably suspected conditions that
         reasonably could be expected to result in imminent and substantial harm to human health
         or the environment.

        2.3    Excluded Liabilities. The Excluded Liabilities shall consist of all Liabilities other
than the Assumed Liabilities. The Excluded Liabilities shall include, but shall not be limited to,
the following:

                 (a)    all Liabilities (other than Environmental Liabilities) relating to or arising
         out of any breach or violation of any Law (other than any Environmental Law), Business
         Contract, Real Property Lease or any Business Permit occurring prior to Closing (or, in the
         case of any Business Contract, Real Property Lease or Business Permit that is designated
         for assignment to Purchaser following the Closing, prior to the date of such assignment,
         except as otherwise provided in the Transition Services Agreement);

                (b)    any Liability arising out of or relating to the Excluded Assets, except as
         otherwise provided in the Transition Services Agreement;

              (c)     any Liability arising out of or relating to this Agreement or any Transaction
         Document for which any Seller has responsibility;

                 (d)    all Liabilities in respect of any employee or other service provider of Sellers
         or any of its Affiliates (whether arising prior to, on or after the Closing Date), including
         any severance obligations that accrue under any severance plan of any Seller with respect
         to any of such Seller’s employees;



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                   (e)   all Environmental Liabilities that are not Assumed Liabilities;

                 (f)     all Liabilities for fees and expenses (i) relating to the negotiation and
         preparation of this Agreement and the Transaction Documents and (ii) relating to the
         transactions contemplated by this Agreement and the Transaction Documents, in each case,
         to the extent incurred by Sellers or their respective Affiliates;

                (g)      any Liability for any Tax or Taxes of any Seller or its Affiliates for any
         taxable period;

                (h)     any Liability for any Tax or Taxes arising out of or relating to the operation
         of the Business (as currently or formerly conducted) or the ownership of the Purchased
         Assets in any Pre-Closing Period (or, in the case of any Purchased Assets that are
         designated for assignment to Purchaser following the Closing, prior to the date of such
         assignment, except as otherwise provided in the Transition Services Agreement), including
         any Property Taxes;

                 (i)     any Liability for any Quarterly Refinery Payments incurred or accruing
         prior to the date that the Refinery Operating Agreement is designated for assignment to
         Purchaser, if ever; and

                 (j)    any Liability or obligation arising out of or relating to Indebtedness of any
         Seller or any of its Affiliates.


                                            ARTICLE III
                         Purchase Price, Manner of Payment; Closing; Deposit

        3.1     Purchase Price; Delivery of Funds. At the Closing, Purchaser shall in full
consideration for the sale and transfer by Sellers of the Purchased Assets (a) pay to Sellers an
amount (such amount, the “Closing Payment”) equal to (i) the Purchase Price, less (ii) the Good
Faith Deposit Amount, by wire transfer of immediately available funds to an account or accounts
designated by Sellers in writing to Purchaser at least three (3) Business Days prior to the Closing;
(b) together with Sellers, execute and deliver a joint written instruction to the Escrow Agent
instructing it to release from the Escrow Account to Sellers by wire transfer of immediately
available funds to an account or accounts designated by Sellers, an amount equal to the Good Faith
Deposit Amount, and (c) assume the Assumed Liabilities.

         3.2       Good Faith Escrow Deposit.

                 (a)     Purchaser has paid to the Escrow Agent the Good Faith Deposit Amount
         and any Additional Deposit Amount, which funds shall be held in a segregated trust
         account by the Escrow Agent and released by the Escrow Agent only in accordance with
         the terms of this Agreement.

                 (b)    If the Closing occurs, then the Good Faith Deposit Amount, shall be paid to
         Sellers and the applicable Parties shall submit joint written instructions to the Escrow
         Agent (in accordance with Section 3.1) to give effect to the same.

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                (c)     If the Closing does not occur as a result of the termination of this Agreement
         pursuant to Section 8.1(e), then within five (5) Business Days of such termination, the
         Good Faith Deposit Amount shall be disbursed to Sellers by the Escrow Agent as liquidated
         damages and the applicable Parties shall submit joint written instructions to the Escrow
         Agent to give effect to the same.

                 (d)     If the Closing does not occur as a result of the termination of this Agreement
         for any reason other than as set forth in Section 3.2(c), then the Good Faith Deposit Amount
         shall be returned to Purchaser by the Escrow Agent within five (5) Business Days of such
         termination, and the applicable Parties shall submit joint written instructions to the Escrow
         Agent to give effect to the same.

                 (e)    The Parties acknowledge that the agreements contained in this Section 3.2
         are an integral part of the transactions contemplated by this Agreement and that without
         these agreements neither Sellers nor Purchaser would enter into this Agreement.

        3.3     Time and Place of Closing. Subject to the satisfaction or waiver of all of the
conditions set forth in Article VII, the closing of the Purchase (the “Closing”) shall take place at
the offices of Baker & Hostetler LLP, 45 Rockefeller Plaza, New York, New York 10111, or such
other location agreed upon by Sellers and Purchaser, as soon as practicable, but in any event within
five (5) Business Days, after the last of the conditions set forth in Article VII is satisfied or waived
(other than those conditions that by their nature are to be satisfied at the Closing, but subject to the
fulfillment or waiver of those conditions), or at such other time, date or place as the Parties shall
agree in writing; provided, however, that the Closing Date (defined hereinafter) shall occur no later
than December 17, 2021, at 5:00 p.m. (New York City time), unless extended by Sellers, with the
consent of the DIP Agent and Prepetition Secured Parties. Such date of Closing is herein referred
to as the “Closing Date”.

         3.4       Closing Deliverables.

                   (a)    At the Closing, Sellers shall deliver or cause to be delivered to Purchaser:

                          (i)      a certificate in a form reasonably satisfactory to Purchaser signed by
                   an authorized officer of each Seller, dated as of the Closing Date, confirming the
                   matters set forth in Sections 7.2(a) and (b) with respect to each Seller;

                           (ii)   counterparts to the assignment, transfer and conveyance instruments
                   listed on Schedule 3.4, in each case, duly executed by each Seller (as applicable);

                         (iii) a counterpart to the Bill of Sale and Assignment and Assumption
                   Agreement, duly executed by each Seller;

                          (iv)    a counterpart to the Transition Services Agreement, duly executed
                   by each Seller (or their applicable Affiliates); and

                          (v)  written instructions to the Escrow Agent to release the Good Faith
                   Deposit Amount pursuant to Section 3.1.


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                (b)     At the Closing, Purchaser shall deliver or cause to be delivered to Sellers,
         and Sellers shall have received:

                           (i)    the Closing Payment by wire transfer of immediately available
                   funds to an account or accounts designated by Sellers in writing to Purchaser at
                   least three Business Days prior to the Closing;

                          (ii)     a certificate in a form reasonably satisfactory to Sellers signed by an
                   authorized officer of Purchaser, dated as of the Closing Date, confirming the
                   matters set forth in Sections 7.1(a) and (b);

                           (iii) counterparts to the assignment, transfer and conveyance instruments
                   listed on Schedule 3.4, in each case, duly executed by Purchaser (as applicable);

                         (iv)   a counterpart to the Bill of Sale and Assignment and Assumption
                   Agreement, duly executed by Purchaser;

                          (v)     a counterpart to the Transition Services Agreement, duly executed
                   by Purchaser; and

                          (vi) written instructions to the Escrow Agent to release the Good Faith
                   Deposit Amount pursuant to Section 3.1.

        3.5    Allocation of Purchase Price. The purchase price (as determined for U.S. federal
income Tax purposes) shall be allocated among the Purchased Assets within 120 days after the
Closing in the manner required by Section 1060 of the Code, and as proposed by Sellers and
consented to by Purchaser prior to the Closing (such consent to not be unreasonably withheld).
Notwithstanding the foregoing, nothing in this Agreement shall be construed to mean that a Party
hereto or other person must: (a) use, for any one or more purposes, any price or other allocation
set forth or provided for in this Agreement if such Party or person reasonably believes or
reasonably is advised that such use is not in accordance with applicable Law; or (b) make or file,
or cooperate in the making or filing of, any return or report to any Governmental Entity in any
manner that such Party or person reasonably believes or is reasonably advised is not in accordance
with applicable Law.


                                             ARTICLE IV
                                Representations and Warranties of Sellers

Except as set forth in the disclosure letter delivered by Sellers to Purchaser (the “Seller Disclosure
Letter”) concurrently with the execution of this Agreement (it being agreed that any matter
disclosed pursuant to any section of the Seller Disclosure Letter shall be deemed disclosed for
purposes of any other section of the Seller Disclosure Letter to the extent the applicability of the
disclosure to such other section is reasonably apparent on the face of such disclosure), as may be
amended, Sellers hereby represent and warrant to Purchaser as follows as of the date hereof and
as of the Closing Date (or as of such other date as may be specified herein):



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        4.1     Due Organization, Good Standing and Limited Liability Company Power. Each
Seller is duly organized, validly existing and in good standing under the laws of its jurisdiction of
organization. Each Seller has all requisite limited liability company power and authority to own,
lease and operate its assets and properties and conduct its business as now being conducted. Each
Seller is in good standing under the laws of each jurisdiction where the character of its assets or
properties or the conduct of its business requires such qualification, except where the failure to be
in good standing would not reasonably be expected to materially and adversely affect the Business,
the Purchased Assets and the Assumed Liabilities, taken as a whole, or prevent or materially delay
beyond the Termination Date Sellers’ ability to consummate the transactions contemplated by this
Agreement or the Transaction Documents.

         4.2       Authorization; Noncontravention.

                 (a)     Subject to obtaining Bankruptcy Court approval pursuant to the Sale Order,
         each Seller has the requisite limited liability company power and authority and has taken
         all limited liability company action necessary to execute and deliver this Agreement, the
         Transaction Documents and all other instruments and agreements to be delivered by Sellers
         as contemplated hereby, to perform its obligations hereunder and thereunder and to
         consummate the transactions contemplated hereby and thereby. Subject to obtaining
         Bankruptcy Court approval pursuant to the Sale Order, the execution, delivery and
         performance by Sellers of this Agreement, the Transaction Documents and all other
         instruments and agreements to be delivered by Sellers as contemplated hereby, the
         consummation by Sellers of the transactions contemplated hereby and thereby and the
         performance of its obligations hereunder and thereunder have been, and in the case of
         documents required to be delivered at the Closing will be, duly authorized and approved
         by all necessary limited liability company, member or other action. This Agreement has
         been, and the Transaction Documents and all other instruments and agreements to be
         executed and delivered by Sellers as contemplated hereby will be, duly executed and
         delivered by Sellers. Subject to obtaining Bankruptcy Court approval pursuant to the Sale
         Order, assuming that this Agreement, the Transaction Documents and all such other
         instruments and agreements constitute valid and binding obligations of Purchaser and each
         other Person (other than any Seller or any Affiliate thereof) party hereto and thereto, this
         Agreement, the Transaction Documents and all such other instruments and agreements
         constitute valid and binding obligations of Sellers, enforceable against each applicable
         Seller in accordance with the terms thereof, except to the extent that such enforcement may
         be limited by applicable bankruptcy, insolvency, reorganization, moratorium or other
         similar Laws affecting the enforcement of creditors’ rights generally and by general
         equitable principles (whether considered in a proceeding in equity or at law).

                 (b)    Except as a result of the Bankruptcy Cases and, subject to obtaining
         Bankruptcy Court approval pursuant to the Sale Order, the execution and delivery by
         Sellers of this Agreement, the Transaction Documents and all other instruments and
         agreements to be delivered by Sellers as contemplated hereby do not, and the
         consummation of the transactions contemplated hereby and thereby will not:

                          (i)     conflict with any of the provisions of any Seller’s certificate of
                   formation or other formational documents;

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                           (ii)    except as provided in Section 4.2(b)(ii) of the Seller Disclosure
                   Letter and subject to receipt of the Consents set forth in Section 4.3 of the Seller
                   Disclosure Letter, conflict with or result in a breach of, or constitute a default under
                   or give rise to any right of termination, cancellation, modification or acceleration
                   (including any right of first refusal or similar right) or the loss of a benefit under,
                   or require the Consent of or giving of notice to any Person under any Business
                   Contract, Real Property Lease or Business Permit (in each case, with or without
                   notice or lapse or time or both); except, in the case of this clause (ii) for such
                   conflicts or breaches or Consents or notices that (if not received) would not
                   reasonably be expected to materially and adversely affect the Business, the
                   Purchased Assets and the Assumed Liabilities, taken as a whole, or prevent or
                   materially delay beyond the Termination Date Sellers’ ability to consummate the
                   transactions contemplated by this Agreement or the Transaction Documents;

                           (iii) subject to the receipt of the Consents referred to in Section 4.3 of
                   the Seller Disclosure Letter, contravene any Law or any Order applicable to Sellers
                   or by which any of their properties or assets are bound except such contraventions
                   that would not reasonably be expected to materially and adversely affect the
                   Business, the Purchased Assets and the Assumed Liabilities, taken as a whole, or
                   prevent or materially delay beyond the Termination Date Sellers’ ability to
                   consummate the transactions contemplated by this Agreement or the Transaction
                   Documents; or

                          (iv)   result in the creation or imposition of any Lien (other than a
                   Permitted Lien) on any of the Purchased Assets.

        4.3     Governmental Consents and Approvals. Except as a result of the Bankruptcy Cases
and, subject to obtaining Bankruptcy Court approval pursuant to the entry of the Sale Order and
the expiration, or waiver by the Bankruptcy Court, of the 14-day period set forth in rules 6004(h)
and 3020(e) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), as applicable,
except as set forth in Section 4.3 of the Seller Disclosure Letter, no Consent of or filing with any
Governmental Entity must be obtained or made by Sellers in connection with the execution and
delivery of this Agreement or any Transaction Document by Sellers or the consummation by
Sellers of the transactions contemplated by this Agreement or any Transaction Document, except
for any Consents that, if not obtained or made, would not reasonably be expected to materially and
adversely affect the Business, the Purchased Assets and the Assumed Liabilities, taken as a whole,
or prevent or materially delay beyond the Termination Date Sellers’ ability to consummate the
transactions contemplated by this Agreement or the Transaction Documents.

         4.4       Property.

                  (a)     Other than the Real Property, no Seller owns any other real property. One
         or more Sellers has good and valid title to the Purchased Real Property (other than any
         Excluded Asset), subject to Permitted Liens. There are no outstanding options, rights of
         first offer or rights of first refusal to purchase any Purchased Real Property or any portion
         thereof or interest therein. No Seller has leased or otherwise granted to any Person the



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         right to use or occupy the Purchased Real Property or any material portion thereof, except
         as set forth in Section 4.4(a) of the Seller Disclosure Letter.

                  (b)    Section 4.4(b) of the Seller Disclosure Letter contains an accurate and
         complete list as of the date hereof of all Real Property Leases and all other real property
         leases and subleases to which a Seller is a party. With respect to each Real Property Lease
         pursuant to which a Seller is a lessee or sublessee, such Seller has valid leasehold interests
         in all leased real property described in such Real Property Lease, free and clear of any and
         all Liens, except for Permitted Liens. Each Real Property Lease is a valid and binding
         obligation of the Seller party thereto and, to the Knowledge of Sellers, is enforceable
         against the other parties thereto in accordance with the terms thereof, in each case, except
         to the extent that such enforcement may be limited by applicable bankruptcy, insolvency,
         reorganization, moratorium or other similar Laws affecting the enforcement of creditors’
         rights generally and by general equitable principles (whether considered in a proceeding in
         equity or at law). Except as set forth in Section 4.4(b) of the Seller Disclosure Letter, there
         exists no material default or event of default (with or without notice or lapse of time or
         both) with respect to any Real Property Lease by a Seller or, to the Knowledge of Sellers,
         by any other party thereto, and no Seller has received or delivered any notice with respect
         to any alleged material default that has not been rescinded, completely cured, or will be
         cured on or before the Closing Date pursuant to §365 of the Bankruptcy Code or otherwise.

                 (c)     To the Knowledge of Sellers, there is no, and no Seller has received written
         notice of any, existing or threatened change in the zoning classification of any Business
         Real Property (or any portion thereof) from that in effect on the date of this Agreement, in
         each instance, which would reasonably be expected to have, individually or in the
         aggregate, a Material Adverse Effect. All water, sewer, gas, electric, telephone and
         drainage facilities and all other utilities and public or quasi-public improvements related
         thereto required by Law with respect to, or required for the operation of, the Business at
         the Business Real Property, are installed and available to serve the Business Real Property.
         No condemnation proceeding, lawsuit or administrative action or other matter affecting
         and adversely impairing the current use or occupancy of the Business Real Property is
         pending or, to the Knowledge of Sellers, threatened in writing with respect to any Business
         Real Property which has had or would reasonably be expected to have, individually or in
         the aggregate, a Material Adverse Effect. There has been no casualty damage at any of the
         Business Real Property that has had or would reasonably be expected to have, individually
         or in the aggregate, a Material Adverse Effect.

        4.5    Title to Purchased Assets. Except as set forth in Section 4.5 of the Seller Disclosure
Letter, and excluding Purchased Real Property (which is governed by Section 4.4(a)), one or more
Sellers own and has good and valid title to, or a valid leasehold interest in, all personal property
included in the Purchased Assets, free and clear of all Liens, except for Permitted Liens.

        4.6     Affiliate Transactions. Except as disclosed in Section 4.6 of the Seller Disclosure
Letter and except for employment and consultant relationships and compensation, benefits, travel
advances and employee or consultant loans to any officer, director, employee or consultant of
Seller, in each case, in the ordinary course of business, there is no Contract or Liability relating
primarily to the Business, the Purchased Assets or the Assumed Liabilities between (a) a Seller,

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on the one hand, and (b) any Affiliate, equity holder, option holder, officer, member, partner or
director of a Seller (in each case that is not also a Seller), on the other hand, that remains in force
and provides for obligations of any party from and after the Closing.

         4.7       Material Contracts.

                 (a)     Section 4.7(a) of the Seller Disclosure Letter sets forth an accurate, correct
         and complete list of the following Contracts to which a Seller is a party and which are
         currently in effect as of the date hereof:

                          (i)     each Contract relating to Indebtedness of the Business or any of the
                   Purchased Assets (in each case, whether incurred, assumed, guaranteed or secured
                   by any asset);

                           (ii)   each Contract whereby a Seller has granted a Lien in respect of any
                   of the Purchased Assets;

                           (iii) each Contract containing any covenant limiting the freedom of a
                   Seller or any of its Affiliates (A) to compete with any Person, engage in any line of
                   business or exploit the Purchased Assets, in each case, in any geographic territory,
                   (B) which grants to any Person any exclusivity with respect to any geographic
                   territory, any customer or any product or service, or (C) to solicit for employment,
                   hire or employ any Person;

                          (iv)   each Contract that requires capital expenditures or other outstanding
                   payments to be made by a Seller in excess of $100,000, in each case, following the
                   date hereof;

                            (v)     each Contract involving a joint venture, partnership, limited liability
                   company or other arrangement providing for the sharing of profits, losses, costs or
                   liabilities with any other Person relating to the Business, the Purchased Assets or
                   the Assumed Liabilities;

                          (vi)    each Contract that requires (or may require in certain circumstances)
                   in accordance with its terms the provision of credit support, collateral, a guarantee
                   or similar financial assurance in respect of the Business, the Purchased Assets or
                   the Assumed Liabilities;

                          (vii) each Contract that (A) provides services for a fixed price or
                   maximum fee, or pursuant to any cap or similar provisions; (B) grants “most
                   favored nation” status (or similar status) to a Person (whether in respect of pricing
                   or otherwise); or (C) provides any performance guarantee, material rebates,
                   discounts, incentive or volume credits;

                          (viii) each Contract with any Governmental Entity relating to the Business,
                   the Purchased Assets or the Assumed Liabilities;



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                           (ix)    Contracts relating to any interest rate, currency or commodity
                   derivatives or hedging transaction;

                          (x)    Contracts containing any “change of control” or similar provisions;
                   and

                          (xi)   Contracts with any employees or other service providers of the
                   Business providing for any severance Liabilities.

                 (b)     The Contracts required to be listed in Section 4.7(a), together with the
         Business Contracts and the Real Property Leases are referred to as “Material Contracts”.
         True, correct and complete copies of each Material Contract have been made available to
         Purchaser prior to the date hereof. Each Business Contract is a valid and binding obligation
         of a Seller (except for any breach or default that results from the insolvency of a Seller or
         the commencement of the Bankruptcy Cases and any breach or default to be cured through
         the payment of the Cure Amounts) and to the Knowledge of Sellers, enforceable against
         the other parties thereto in accordance with the terms thereof, except to the extent that such
         enforcement may be limited by applicable bankruptcy, insolvency, reorganization,
         moratorium or other similar Laws affecting the enforcement of creditors’ rights generally
         and by general equitable principles (whether considered in a proceeding in equity or at law).
         Except as set forth in Section 4.7(b) of the Seller Disclosure Letter and any breach or
         default that results from the insolvency of a Seller or the commencement of the Bankruptcy
         Cases and any breach or default to be cured through the payment of the Cure Amounts,
         there exists no material default or event of default (with or without notice or lapse of time
         or both) with respect to any Business Contract by a Seller or, to the Knowledge of Sellers,
         by any other party thereto and no Seller has received or delivered any notice with respect
         to any alleged material default that has not been rescinded or cured.

         4.8       Intellectual Property Rights and Claims.

                 (a)     The Intellectual Property set forth in Section 4.8(a) of the Seller Disclosure
         Letter identifies all registrations and applications for the Intellectual Property owned by
         each Seller and used or held for use by Sellers in the Business as presently conducted. The
         Intellectual Property required to be set forth in Section 4.8(a) of the Seller Disclosure Letter
         is subsisting and has not been adjudicated to be invalid or unenforceable in whole or part,
         and to the Knowledge of Sellers, is valid and enforceable, and to the Knowledge of Sellers,
         no Seller is aware of any uses of any item of such Intellectual Property that could be
         expected to lead to such item becoming invalid or unenforceable.

                 (b)     Except as set forth in Section 4.8(b) of the Seller Disclosure Letter, one or
         more Sellers owns all right, title, and interest to or is licensed to use the Business
         Intellectual Property, free and clear of any Liens, other than Permitted Liens.

                 (c)     The operation of the Business as currently conducted and the use of the
         Intellectual Property in connection therewith, to the Knowledge of Sellers, do not conflict
         with, infringe, misappropriate, dilute, misuse or otherwise violate the intellectual property
         rights of any third-party. No claim, action, suit, investigation, litigation or proceeding has


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         been asserted or is pending or, to the Knowledge of Sellers, threatened against any Seller
         with respect to the foregoing. To the Knowledge of Sellers, no Third Party is infringing or
         misappropriating any Business Intellectual Property.

                 (d)     Except for claims that have since been satisfactorily resolved or for which
         the statute of limitations has lapsed, no Seller has received any written notice from any
         Third Party challenging the right of such Seller to use any of the Business Intellectual
         Property that would reasonably be expected to materially and adversely affect the Business,
         the Purchased Assets and the Assumed Liabilities, taken as a whole.

                 (e)     There are no pending actions, suits or arbitrations by, or before any
         Governmental Entity for an infringement or misappropriation by any Seller of any
         Intellectual Property owned by any Third Party which would reasonably be expected to
         materially and adversely affect the Business, the Purchased Assets and the Assumed
         Liabilities, taken as a whole.

         4.9       Tax Matters. Except as disclosed in Section 4.9 of the Seller Disclosure Letter:

                 (a)    Sellers have timely filed or caused to be timely filed, taking into account
         any applicable extensions, with the appropriate taxing authorities all income Tax Returns
         and all material non-income Tax Returns with respect to the Business or the Purchased
         Assets. All such Returns are correct and complete in all material respects. No Seller is
         currently the beneficiary of any extension of time within which to file any material tax
         Return with respect to the Business or the Purchased Assets. Since January 1, 2017, no
         written claim has been made by a Governmental Entity in a jurisdiction in which a Seller
         does not file Returns that such Seller is or may be subject to taxation by that jurisdiction
         with respect to Taxes that would be the subject of such Returns.

                 (b)     All income Tax Liabilities and all material non-income Tax Liabilities of
         each Seller due and payable with respect to the Business or the Purchased Assets, in each
         instance for all Pre-Closing Periods, have been timely paid, taking into account any
         applicable extensions, to the extent the non-payment of such Taxes could reasonably be
         expected to result in a Lien (other than a Permitted Lien) on the Purchased Assets. There
         are no pending or, to the Knowledge of Sellers threatened in writing, audits, investigations,
         disputes, notices of deficiency, claims or other similar actions relating to Property Taxes
         or any other Taxes that are imposed on a periodic basis (which are not based on income)
         of a Seller with respect to the Business or the Purchased Assets. No Seller has waived any
         statute of limitations in respect of non-income Taxes or agreed to any extension of time
         with respect to a non-income Tax assessment or deficiency.

        4.10 Financial Statements. Sellers have made available to Purchaser copies of the
audited consolidated balance sheet of the Business as of December 31, 2020 (the “Most Recent
Balance Sheet”), the related audited consolidated income statement and audited statement of cash
flows for the twelve-month period ended December 31, 2020, together with the accompanying
notes thereto (collectively, the “Financial Statements”). Each of the Financial Statements has been
prepared in all material respects in conformity with U.S. generally accepted accounting principles
(“GAAP”) applied on a consistent basis during the periods involved (except as may be indicated


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therein or in the notes thereto), and presents fairly in all material respects the consolidated financial
position, results of operations and cash flows of the Business as at the dates and for the periods
indicated therein.

        4.11 Compliance with Laws. Except as set forth in Section 4.11 of the Seller Disclosure
Letter, (a) no Seller is, and no Seller has been in the past five (5) years, in material violation of any
Law or Order applicable to the Business, the Purchased Assets or the Assumed Liabilities, and (b)
no Seller has received any written notice alleging or, to the Knowledge of Seller, been subject to
any investigation by any Governmental Entity concerning, any such material violation of a Law
or Order.

       4.12 Environmental Matters. Except as disclosed in Section 4.12 of the Seller
Disclosure Letter, with respect to the Business:

                   (a)   each Seller is in material compliance with all applicable Environmental
         Laws;

                 (b)    there are no Proceedings pending, or to the Knowledge of Sellers,
         threatened in writing, against any Seller that alleges any material violation of
         Environmental Law and no Seller has received from any Governmental Entity any written
         notice of material violation or alleged material violation of Environmental Law;

                  (c)    Sellers possess and are in material compliance with all Permits required
         under Environmental Laws to operate the Business as currently operated and as the
         Business is expected to be operated following the Closing as contemplated by the
         Transaction Documents (“Environmental Permits”), which such Environmental Permits
         are listed in Section 4.12(c) of the Seller Disclosure Letter, and there are no Proceedings
         pending, or to the Knowledge of Sellers threatened in writing, to modify, suspend, revoke
         or rescind any such Environmental Permits; and

                (d)      from and after December 1, 2015, there have been no material releases of
         any Hazardous Materials (i) at, in, under, on, or from any Seller Facilities or (ii) at, in,
         under, on, or, from any third-party location for which a Seller has any material Liability
         under Environmental Law.

The representations and warranties in this Section 4.12 are the sole and exclusive representations
and warranties of Sellers concerning any Environmental Law, Environmental Permits, Hazardous
Material or other environmental matters.

       4.13 Permits. Except for matters that are the subject of the representations and
warranties in Section 4.12 (Environmental Matters), which matters are covered solely by
Section 4.12, Sellers possess all material Permits that are necessary for the lawful operation of the
Business as currently conducted by Sellers in the ordinary course. All such Permits are valid and
have not lapsed, been cancelled, terminated or withdrawn. Sellers are in compliance in all material
respects with all such Permits.

        4.14 Litigation. Except as set forth in Section 4.14 of the Seller Disclosure Letter: (a)
there is no Proceeding pending, or to the Knowledge of Sellers, threatened, against any Seller or

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its Affiliates in respect of the Business, the Purchased Assets or the Assumed Liabilities, and (b)
there are no material Orders outstanding applicable to the Business, the Purchased Assets or the
Assumed Liabilities that have not been fully satisfied.

        4.15 Finders; Brokers. Except for Jefferies LLC and GlassRatner Advisory & Capital
LLC, doing business as B. Riley Advisory Services (whose fees are payable by Sellers), no agent,
broker, Person or firm acting on behalf of Sellers is, or shall be, entitled to any broker’s fees,
finder’s fees or commissions from Purchaser in connection with this Agreement or any Transaction
Document or any of the transactions contemplated hereby or thereby.

        4.16 Exclusivity of Representations; Projections, Etc.. The representations and
warranties expressly made by Sellers in this Article IV and the Transaction Documents are the
exclusive representations and warranties made by Sellers with respect to the Business, the
Purchased Assets and the Assumed Liabilities. Except for any representations and warranties
expressly set forth in this Article IV (as qualified by the Seller Disclosure Letter) or the Transaction
Documents, (a) the Purchased Assets and the Assumed Liabilities are sold “AS IS, WHERE IS,”
and Sellers expressly disclaim (on each of their own behalf and on behalf of each of their respective
Affiliates) any other representations or warranties of any kind or nature, express or implied, as to
Liabilities, operations of their businesses (as currently or formerly conducted), the title, condition,
value or quality of assets of Sellers, or the prospects (financial and otherwise), risks and other
incidents of Sellers and their businesses (as currently or formerly conducted), the Purchased Assets
and the Assumed Liabilities, (b) SELLERS SPECIFICALLY DISCLAIM (ON EACH OF THEIR
OWN BEHALF AND ON BEHALF OF EACH OF THEIR RESPECTIVE AFFILIATES), AND
PURCHASER HEREBY WAIVES, ANY REPRESENTATION OR WARRANTY OF
QUALITY, VALUE, DESIGN, OPERATION, MERCHANTABILITY, NON-INFRINGEMENT,
FITNESS FOR A PARTICULAR PURPOSE, ELIGIBILITY FOR A PARTICULAR TRADE,
CONFORMITY TO SAMPLES, OR CONDITION OF THE ASSETS OF SELLERS
(INCLUDING THE PURCHASED ASSETS) OR ANY PART THEREOF, WHETHER
LATENT OR PATENT, (c) no material or information provided by or communications made by
any Seller or any of its Affiliates, or by any advisor thereof, whether by use of a “data room,” or
in any information memorandum, or otherwise, or by any broker or investment banker, will cause
or create any warranty, express or implied, as to or in respect of any Seller, any Affiliate of any
Seller or the title, condition, value or quality of their businesses (as currently or formerly
conducted), the Purchased Assets or the Assumed Liabilities, and no other Person shall be deemed
to have made, or shall be deemed to make, any other express or implied representation or warranty,
either written or oral, on behalf of any Seller or any Affiliate thereof with respect to the subject
matter contained herein, and (d) no Seller makes any representation or warranty whatsoever with
respect to any estimates, projections and other forecasts and plans (including the reasonableness
of the assumptions underlying such estimates, projections and forecasts).


                                          ARTICLE V
                           Representations and Warranties of Purchaser

        Purchaser hereby represents and warrants to Sellers as follows as of the date hereof and
as of the Closing Date (or as of such other date as may be specified herein):



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        5.1     Due Organization, Good Standing and Power. Purchaser organized, validly
existing and in good standing under the laws of its jurisdiction of organization. Purchaser has all
requisite power and authority to own, lease and operate its assets and properties and conduct its
business as now being conducted. Purchaser is in good standing under the laws of each jurisdiction
where the character of its assets or properties or the conduct of its business requires such
qualification, except where the failure to be in good standing would not reasonably be expected to
prevent, materially delay or impair Purchaser’s ability to consummate the transactions
contemplated by this Agreement or any Transaction Document.

         5.2       Authorization; Noncontravention.

                 (a)     Purchaser has the requisite power and authority and has taken all action
         necessary to execute and deliver this Agreement, the Transaction Documents and all other
         instruments and agreements to be delivered by Purchaser as contemplated hereby, to
         perform its obligations hereunder and thereunder and to consummate the transactions
         contemplated hereby and thereby. The execution, delivery and performance by Purchaser
         of this Agreement, the Transaction Documents and all other instruments and agreements
         to be delivered by Purchaser as contemplated hereby, the consummation by it of the
         transactions contemplated hereby and thereby and the performance of its obligations
         hereunder and thereunder have been, and in the case of documents required to be delivered
         at the Closing will be, duly authorized and approved by all necessary action of Purchaser.
         This Agreement has been, and the Transaction Documents and all other instruments and
         agreements to be executed and delivered by Purchaser as contemplated hereby will be, duly
         executed and delivered by Purchaser. Assuming that this Agreement, the Transaction
         Documents and all such other instruments and agreements constitute valid and binding
         obligations of Sellers and each other Person (other than Purchaser) party hereto and thereto,
         this Agreement and all such other instruments and agreements constitute valid and binding
         obligations of Purchaser, enforceable against Purchaser in accordance with the terms
         thereof, except to the extent that such enforcement may be limited by applicable
         bankruptcy, insolvency, reorganization, moratorium or other similar Laws affecting the
         enforcement of creditors’ rights generally and by general equitable principles (whether
         considered in a proceeding in equity or at law).

                  (b)     Except as a result of the Bankruptcy Cases, the execution and delivery by
         Purchaser of this Agreement, the Transaction Documents and all other instruments and
         agreements to be delivered by Purchaser as contemplated hereby do not, and the
         consummation of the transactions contemplated hereby and thereby will not, (i) conflict
         with any of the provisions of the certificate of formation or governance documents of
         Purchaser, in each case, as amended to the date of this Agreement, (ii) conflict with or
         result in a breach of, or constitute a default under, any Contract or other instrument to which
         Purchaser is a party or by which Purchaser or any of its properties or assets are bound, or
         (iii) contravene any Law or any Order applicable to Purchaser or by which any of its
         properties or assets are bound, except in the case of clauses (ii) and (iii) above, for such
         conflicts, breaches, defaults, consents, approvals, authorizations, declarations, filings or
         notices which do not and would not reasonably be expected to, individually or in the
         aggregate, prevent or materially delay beyond the Termination Date Purchaser’s ability to
         consummate the transactions contemplated by this Agreement.

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        5.3     Governmental Consents and Approvals. Except as a result of the Bankruptcy Cases,
no additional Consent of or filing with any Governmental Entity must be obtained or made by
Purchaser in connection with the execution and delivery of this Agreement or any Transaction
Document by Purchaser or the consummation by Purchaser of the transactions contemplated by
this Agreement or any Transaction Document, except for any Consents which have been obtained
or made or, if not made or obtained, do not and would not reasonably be expected to, individually
or in the aggregate, prevent, materially delay or impair Purchaser’s ability to consummate the
transactions contemplated by this Agreement or any Transaction Document.

        5.4     Financing. Purchaser has sufficient funds to consummate the transactions
contemplated hereby, to perform its obligations hereunder (including all payments to be made by
it in connection herewith) and to pay its expenses related to this Agreement and the transactions
contemplated hereby. The obligations of Purchaser under this Agreement are not contingent on
the availability of any equity or debt financing.

        5.5     Solvency of Purchaser. After giving effect to the transactions contemplated by this
Agreement, Purchaser will not: (a) be insolvent (either because its financial condition is such that
the sum of its debts is greater than the fair market value of its assets or because the fair saleable
value of its assets is less than the amount required to pay its probable liabilities on its existing
debts as they mature); (b) have unreasonably small capital with which to engage in its business; or
(c) have incurred debts beyond its ability to pay as they become due.

       5.6     Adequate Assurances. Purchaser is and will be capable of satisfying the conditions
contained in Section 365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the Business
Contracts and Real Property Leases.

         5.7    Litigation. There is no Proceeding pending against or affecting Purchaser, or any
of its properties or rights, except as have not and would not reasonably be expected to, individually
or in the aggregate, prevent, materially delay or impair Purchaser’s ability to consummate the
transactions contemplated by this Agreement or any Transaction Document. Purchaser is not
subject to any Order which seeks to or would reasonably be expected to, individually or in the
aggregate, prevent, materially delay or impair Purchaser’s ability to consummate the transactions
contemplated by this Agreement or any Transaction Document.

        5.8     Finders; Brokers. Other than Greenhill & Co., LLC, no agent, broker, Person or
firm acting on behalf of Purchaser or any of its Affiliates is or shall be entitled to any broker’s fees,
finder’s fees or commissions from Sellers or any of their respective Affiliates in connection with
this Agreement or any Transaction Document or any of the transactions contemplated hereby or
thereby.

        5.9     Investigation by Purchaser. Purchaser has conducted its own independent
investigation, verification, review and analysis of the Business (as currently or formerly conducted)
and results of operations, financial condition, technology and prospects, the Purchased Assets and
the Assumed Liabilities, which investigation, review and analysis was conducted by Purchaser and
its Affiliates and, to the extent Purchaser deemed appropriate, by Purchaser’s Representatives.
Purchaser acknowledges that it and its Representatives have been provided adequate access to
Sellers’ personnel, properties, premises and records, the Purchased Assets and the Assumed


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Liabilities. In entering into this Agreement, Purchaser acknowledges that it has relied solely upon
the aforementioned investigation, review and analysis and not on any factual representations or
opinions of Sellers or any of their respective Affiliates (except the representations and warranties
of Sellers set forth in Article IV), and Purchaser acknowledges and agrees, to the fullest extent
permitted by Law, that:

                 (a)      none of Sellers or any of their respective Affiliates, Representatives or any
         other Person makes or has made any oral or written representation or warranty, either
         express or implied, as to the accuracy or completeness of any information made available
         or delivered to Purchaser, or its Affiliates and Representatives, including any information,
         whether oral or written (including cost estimates, financial information and projections and
         other projections and forward-looking statements) included in management presentations,
         “break-out” discussions, responses to questions submitted by or on behalf of Purchaser or
         its Affiliates and Representatives, or any “data room” or court filings;

                (b)     none of Sellers or any of their respective equity holders, Affiliates,
         Representatives or any other Person shall have any Liability or responsibility whatsoever
         to Purchaser or its equity holders, Affiliates or Representatives on any basis (including in
         contract, tort or equity, under any securities Laws or otherwise) based upon any
         information described in Section 5.9(a);

                 (c)     without limiting the generality of the foregoing, none of Sellers or any of
         their respective equity holders, Affiliates, Representatives or any other Person makes any
         representation or warranty regarding (and Purchaser disclaims) any Third Party beneficiary
         rights or other rights which Purchaser might claim under any studies, reports, tests or
         analyses prepared by any Third Parties for any of Sellers or any of their respective
         Affiliates, even if the same were made available for review by Purchaser or its equity
         holders, Affiliates or Representatives; and

                 (d)      without limiting the generality of the foregoing, Purchaser expressly
         acknowledges and agrees that none of the documents, information or other materials
         provided to it at any time or in any format by Sellers or any of their respective equity
         holders, Affiliates or Representatives constitutes legal advice, and Purchaser waives all
         rights to assert that it received any legal advice from any of Sellers or any of their respective
         equity holders, Affiliates, or any of their respective Representatives, or that it had any sort
         of attorney-client relationship with any of such Persons.


                                              ARTICLE VI
                                               Covenants

         6.1       Access to Information Concerning Properties and Records.

                  (a)     During the period from the date of this Agreement through and including
         the earlier of (i) the date this Agreement is terminated in accordance with Article IX and
         (ii) the Designation Deadline, (A) Sellers shall, upon reasonable prior notice and during
         regular business hours, afford Purchaser and its Representatives reasonable access to the
         personnel, properties, facilities, books and records and other Files and Records of Sellers,

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         the Purchased Assets and the Assumed Liabilities (provided that, prior to the Closing,
         Sellers shall not be required to conduct, or permit Purchaser or any of its Representatives,
         without the express written permission of Sellers, to conduct any Phase I environmental
         site assessment or Phase II environmental site assessment (or other similar environmental
         air, building materials, soil, soil gas, surface water, groundwater or other environmental
         media investigation, sampling or analysis on or relating to any real property owned by or
         leased to any Seller)), and (B) Sellers shall furnish to Purchaser access to all financial and
         operating data and other information of Sellers relating to the Purchased Assets and the
         Assumed Liabilities that are in the possession or control of Sellers as Purchaser may
         reasonably request. Information obtained by Purchaser and its Representatives in
         connection with the transactions contemplated by this Agreement shall be subject to the
         provisions of the Confidentiality Agreement, which shall survive the termination of this
         Agreement in accordance with Section 6.14.

                 (b)     Purchaser hereby acknowledges that any access granted pursuant to Section
         6.1(a) and utilized by Purchaser or any of its Representatives shall be at the sole risk, cost
         and expense of Purchaser. Purchaser shall comply, and shall use commercially reasonable
         efforts to ensure that each of its Representatives complies, with all safety and similar
         requirements imposed by Sellers on their properties in the ordinary course of business.
         Purchaser shall indemnify, defend and hold harmless each of the Sellers and their
         respective Affiliates and their respective shareholders, partners, members, managers,
         officers and directors (the “Seller Access Indemnitees”) from and against any Losses
         suffered, incurred or paid by them to the extent such Losses are a result of or arise out of
         Purchaser’s or any of its Representatives’ access granted pursuant to Section 6.1(a);
         provided, that Purchaser shall not be required to indemnify and hold harmless any Seller
         Access Indemnitee to the extent any Losses incurred by such Seller Access Indemnitee
         arise due to the gross negligence or willful misconduct of such Seller Access Indemnitee.
         Notwithstanding anything to the contrary contained in this Agreement, the provisions of
         this Section 6.1(b) shall survive the Closing and any cancellation or termination of this
         Agreement.

                 (c)     Nothing contained in this Agreement shall be construed to give to Purchaser,
         directly or indirectly, rights to control or direct any Seller or any business or operations of
         any Seller prior to the Closing in a manner that would violate any Antitrust Laws. Prior to
         the Closing, Sellers shall exercise, consistent with the terms and conditions of this
         Agreement, complete control and supervision of its business and operations.

                 (d)     Purchaser hereby acknowledges and agrees that it is not authorized to and
         shall not (and shall not permit any of its Representatives to), without the prior written
         consent of Sellers, contact any competitor, contractor, vendor, supplier, distributor or
         customer of the Sellers, in each case, with respect to Sellers, the Purchased Assets
         (including, for the avoidance of doubt, the Seller Facilities) or the Assumed Liabilities,
         prior to the Closing. Purchaser shall keep Sellers informed on a reasonably current basis
         of any contact with any customers, competitors, vendors or suppliers of Sellers.

                 (e)    Notwithstanding anything to the contrary contained herein, no access or
         investigation by Purchaser, its Affiliates or their respective Representatives shall affect or

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         otherwise modify in any respect any of Purchaser’s rights or benefits under this Agreement,
         including the conditions to Purchaser’s obligation to consummate the transactions
         contemplated by the Agreement as set forth in Article VII.

         6.2       Conduct Prior to the Designation Deadline.

                 (a)    Except (i) as set forth on Schedule 6.2(a), (ii) as may be expressly required
         by this Agreement, (iii) as required by Law or Order or by a Governmental Entity, (iv) as
         required by the Bankruptcy Court, or (v) as a consequence of the commencement and
         continuation of the Bankruptcy Cases, during the period commencing on the date hereof
         and ending on the earlier of the Designation Deadline and the termination of this
         Agreement pursuant to Article IX, Sellers shall use commercially reasonable efforts (x) to
         comply in all material respects with all Laws, Orders, Contracts, Permits and
         Environmental Permits applicable thereto and (y) to preserve, maintain and protect in all
         material respects the Purchased Assets, the current goodwill of the Business and Sellers’
         present relationships with Governmental Entities and other Persons having significant
         relationships with Sellers in connection with the Business (as currently conducted).

                 (b)     Except (i) as set forth Schedule 6.2(b), (ii) as may be expressly required by
         this Agreement, (iii) as required by Law or Order or by a Governmental Entity, (iv) as
         required or approved by the Bankruptcy Court, including pursuant to a confirmed chapter
         11 plan, or (v) as a consequence of the commencement and continuation of the Bankruptcy
         Cases, during the period commencing on the date hereof and ending on the earlier of the
         Designation Deadline and the termination of this Agreement pursuant to Article IX, Sellers
         shall not effect any of the following (as each pertains to or is related to the Business, the
         Purchased Assets or the Assumed Liabilities) without the prior written consent of
         Purchaser (such consent not to be unreasonably withheld, conditioned or delayed):

                          (i)     sell, transfer, lease, license or otherwise dispose of any of its assets
                   or properties prior to the Designation Deadline that would be, or could be, if
                   designated in accordance with Sections 1.4(c) or 1.4(h) Purchased Assets under this
                   Agreement, except for any sale, transfer, lease, license or other disposition under
                   this Agreement or other Transaction Document;

                          (ii)    except as required by GAAP, make any change in any method of
                   accounting or auditing practice with respect to the Business;

                          (iii) fail to pay, discharge, settle or satisfy any Assumed Liabilities in
                   accordance with the Budget, as such Assumed Liabilities become due, other than
                   in connection with a good faith dispute; provided that such obligation shall
                   terminate on the Closing Date notwithstanding anything to the contrary in this
                   Section 6.2(b);

                          (iv)    create, permit, subject or allow to exist any Lien on any of the
                   Purchased Assets other than a Permitted Lien and other than any Lien that will be
                   extinguished at or prior to Closing;



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                          (v)    extend, materially amend or terminate or grant any material waiver
                   under any Business Contract or Real Property Lease or enter into any Contract that
                   would be categorized as a Material Contract if in effect on the date hereof;

                          (vi)   abandon any rights under, request the rejection under Section 365 of
                   the Bankruptcy Code of, or amend, modify or supplement the terms of, any of the
                   Business Contracts or Real Property Leases;

                           (vii) fail to take any reasonable action that would prevent the expiration,
                   lapse, termination or abandonment of any Permit or Environmental Permit, in each
                   case that is material to the Business;

                          (viii) settle or compromise any Proceeding, or enter into any consent
                   decree or settlement agreement with any Third Party, against or affecting the
                   Business that, in each case, would constitute an Assumed Liability;

                          (ix)    waive any material claims or rights of material value that are
                   included in the Purchased Assets;

                           (x)    incur, assume, or guarantee any Indebtedness or make any material
                   capital expenditures that, in each case, would constitute an Assumed Liability; or

                          (xi)    authorize any of the foregoing or commit or agree to do any of the
                   foregoing;

         provided, that Purchaser is, and at all times remains, in full and complete compliance with
         its obligations under the Transition Services Agreement. As more fully set further therein,
         if Purchaser defaults under the Transition Services Agreement, Sellers may take any
         actions necessary, notwithstanding this Section 6.2(b), to preserve and protect the Sellers
         or the Sellers’ bankruptcy estates, including, without limitation, abandon, sell, transfer,
         lease, license or otherwise dispose of any of its assets or properties or reject any Contracts.

         6.3       Efforts to Close.

                 (a)     Except as otherwise provided in this Section 6.3, the Parties shall, and shall
         cause their respective controlled Affiliates and Representatives to, and shall use
         commercially reasonable efforts to direct their respective equityholders to, cooperate and
         use their respective commercially reasonable efforts to take, or cause to be taken, all
         appropriate actions, and to make, or cause to be made, all filings necessary, proper or
         advisable under applicable Laws and to consummate and make effective the transactions
         contemplated by this Agreement, including their respective commercially reasonable
         efforts to obtain, prior to the Closing Date, all Permits, Consents and Orders of
         Governmental Entities as are necessary for consummation of the transactions contemplated
         by this Agreement and to fulfill the conditions to consummation of the transactions set
         forth in Article VII; provided, that (w) no Party or its Affiliates shall be required to make
         any concessions that would adversely affect its business or be materially more burdensome
         to such Party (including to amend any Contract to increase the amount payable thereunder,
         commence any litigation, settle or compromise any matter, offer or grant any

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         accommodation (financial or otherwise) to any Third Party or Governmental Entity, pay
         any amount or bear any other incremental economic burden to obtain any such Permit,
         Consent or Order), (x) no Party or its Affiliates shall incur any expense that would be
         payable or otherwise borne by the other Party or such other Party’s Affiliates without the
         consent of such other Party, (y) Sellers shall not make any concessions that would be an
         Assumed Liability, and (z) Purchaser shall not make any concessions that would purport
         to bind any Seller or any of its Affiliates.

                  (b)      Notwithstanding anything to the contrary contained in this Agreement, no
         Seller nor any of its Affiliates or Representatives shall be required to repay any
         Indebtedness, amend or enter into any Contract or other arrangement, commence any
         litigation, settle or compromise any matter, offer or grant any accommodation (financial or
         otherwise) to any Third Party, pay any amount or bear any other incremental economic
         burden to procure any amendments, modification or termination of any Contract.

        6.4      Public Announcements. Each Party shall (a) consult with each other Party before
issuing any press release or otherwise making any public statement with respect to the transactions
contemplated by this Agreement or any Transaction Document, (b) provide to the other Parties for
review a copy of any such press release or public statement and (c) not issue any such press release
or make any such public statement prior to such consultation and review and the receipt of the
prior consent of the other Parties, unless required by Laws or regulations applicable to such Party
or its Affiliates, regulations of any stock exchange applicable to such Party or its Affiliates, or the
Bankruptcy Court with respect to filings to be made with the Bankruptcy Court in connection with
this Agreement, in which case, the Party required to issue the press release or make the public
statement or filing shall, prior to issuing such press release or making such public statement or
filing, use its commercially reasonable efforts to allow the other Parties reasonable time to
comment on such release, statement or filing to the extent practicable and permitted by Law.
Notwithstanding anything to the contrary contained in this Agreement, each of the Parties and its
legal counsel and other Representatives shall be permitted to make filings on the docket of, or
statements on the record before, the Bankruptcy Court relating to this Agreement and the
transactions contemplated hereby without prior approval or consultation.

        6.5     Notification of Certain Matters. Sellers, on the one hand, and Purchaser, on the
other hand, shall use their respective commercially reasonable efforts to promptly notify each other
of any material Proceedings in connection with the transactions contemplated by this Agreement
or the Transaction Documents commenced or, to the knowledge of Purchaser or the Knowledge
of Sellers, threatened, against Sellers or Purchaser, as the case may be, or any of their respective
Affiliates.

         6.6       Post-Closing Access to Records and Personnel; Litigation Support.

                 (a)     Until the later of (i) three (3) years after the Closing Date and (ii) one (1)
         year after the closing or dismissal of the Bankruptcy Cases and all proceedings related to
         or arising out of the Bankruptcy Cases, or any of them), Purchaser shall preserve and retain
         all corporate, accounting, Tax, legal, auditing, human resources and other books and
         records, as well as all documents and communications, including, without limitation, any
         electronically-stored information, servers, electronical communications (e.g., e-mail,

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         instant messages, voicemails, etc.), and other digital information or data, relating to the
         Purchased Assets, the Assumed Liabilities, the Business, or any other assets of the Seller,
         including any Excluded Assets or Excluded Liabilities, with respect to periods prior to the
         Designation Deadline (including (i) any documents relating to any Proceeding or other
         dispute and (ii) all Returns, schedules, work papers and other material records or other
         documents relating to Taxes relating to the Purchased Assets and the Assumed Liabilities).
         At the end of such period, Purchaser may dispose of any such books and records only after
         they are first offered to and not accepted by Sellers.

                (b)     Following the Closing, Purchaser shall allow Sellers, and their Affiliates
         successors, including, without limitation, any post-confirmation trustee appointed in the
         Bankruptcy Cases, and their respective Representatives, reasonable access to (i) all books
         and records related the Purchased Assets, the Assumed Liabilities, and the Business,
         including, without limitation, any electronically-stored information, servers, electronical
         communications (e.g., e-mail, instant messages, voicemails, etc.), and other digital
         information or data, and (ii) such personnel having knowledge of the location or contents
         of such books and records, in each case of the foregoing clauses (i) and (ii), for legitimate
         business reasons, including, without limitation, any matters arising out of or relating to the
         Bankruptcy Cases or any related proceedings; provided, that no such access shall
         unreasonably interfere with Purchaser’s operation of the Business.

                 (c)     Following the Closing, Sellers shall allow Purchaser and its Affiliates and
         their respective Representatives, reasonable access to (i) all books and records related the
         Purchased Assets and the Assumed Liabilities and the Business and (ii) such personnel
         having knowledge of the location or contents of such books and records, in each case of
         the foregoing clauses (i) and (ii), for legitimate business reasons.

                 (d)     If and for so long as any Party (or any of its Affiliates) is actively
         prosecuting, contesting or defending any Proceeding brought against or by a Third Party
         in connection with (i) the Purchase or (ii) any fact, situation, circumstance, status, condition,
         activity, practice, plan, occurrence, event, incident, action, failure to act, or transaction on
         or prior to the Closing Date involving any Seller or the Business (as currently or formerly
         conducted), the Purchased Assets or the Assumed Liabilities, or for so long as the
         Bankruptcy Cases or any proceeding arising out of or related to the Bankruptcy Cases, or
         any of them, are pending, the non-contesting, non-defending, or non-debtor Person or
         Persons shall, at the sole cost and expense of the contesting or defending Person or Persons,
         (x) reasonably cooperate with the contesting or defending Person or Persons or Sellers, as
         applicable, and its or their counsel in the defense, contest, or prosecution of the matter, (y)
         make available its or their personnel during normal business hours and (z) provide such
         access to its or their books and records (including any electronically stored information,
         servers, electronic communications (e.g., e-mail, instant messages, voicemails, etc.), and
         other digital information or data) as shall be necessary or reasonably requested in
         connection with the prosecution, defense or contests, or administration of the Bankruptcy
         Cases; provided, that no such cooperation or access shall unreasonably interfere with the
         operation of the businesses of the non-contesting, non-defending, or non-debtor Person or
         Persons and no Party shall be required to cooperate or provide access to another Party in
         connection with a Proceeding between such Party and/or its Affiliates, on the one hand,

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         and any other Party and/or its Affiliates, on the other hand, except through the compliance
         with generally applicable laws, rules, statutes, and regulations.

                 (e)     Each of Purchaser, on the one hand, and Sellers, on the other hand, shall be
         entitled to recover from the other its reasonable out-of-pocket costs incurred in providing
         the foregoing access and personnel pursuant to Sections 6.6(a) through (d), inclusive, to
         the other.

                 (f)     The rights and obligations of a Party under this Section 6.6 shall inure to
         the benefit of and be binding upon the successors and assigns of such Party. If a Party or
         any of its successors or assigns (i) consolidates with or merges into any other Person or (ii)
         with respect to Purchaser, transfers all or substantially all of the Purchased Assets or the
         Assumed Liabilities to any Person, in each case proper provision shall be made so that the
         successors and assigns of such Party honor the obligations set forth in this Section 6.6.

         6.7       Tax Matters.

                 (a)     All stamp, transfer, documentary, sales and use, value added, registration
         and other such taxes and fees (including any penalties, interest and recording and filing
         fees) incurred in connection with the Purchase or otherwise in connection with this
         Agreement and not exempted under a Sale Order, whether or not customarily paid by
         sellers or purchasers (collectively, the “Transfer Taxes”), shall be borne by Purchaser.
         Purchaser shall properly file on a timely basis all necessary Returns and other
         documentation with respect to any Transfer Tax and provide to Sellers evidence of payment
         of all Transfer Taxes.

                 (b)    Purchaser and Sellers agree to furnish or cause to be furnished to each other,
         as promptly as reasonably practicable, such information and assistance relating to the
         Purchased Assets as is reasonably necessary for the preparation and filing of any Return,
         for the preparation for and proof of facts during any Tax audit, for the preparation for any
         Tax protest, for the prosecution or defense of any suit or other proceeding relating to Tax
         matters and for the answer of any governmental or regulatory inquiry relating to Tax
         matters.

                 (c)    For purposes of this Agreement, all Property Taxes and any other Taxes that
         are imposed on a periodic basis (which are not based on income) with respect to the
         Purchased Assets with respect to any taxable period that begins on or before and ends after
         the Closing Date shall be apportioned between the portion of such period that falls within
         the Pre-Closing Period and the portion of such period that falls within the Post-Closing
         Period proportionally in accordance with the number of days in each such portion of the
         period.

        6.8    Bulk Sales Act. Purchaser hereby waives compliance by Sellers with respect to
any applicable bulk sale, bulk transfer, successor liability and similar Laws, or with any Laws
triggered by a bulk sale or transfer of property, of any jurisdiction in connection with the
transactions contemplated by this Agreement or similar Laws of any jurisdiction in connection
with the Purchase.


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         6.9       Bankruptcy Action.

                (a)    The Parties shall comply in all material respects with the Bid Procedures
         Order and the Sale Order (after the entry of such Orders by the Bankruptcy Court).

                 (b)     Sellers shall use commercially reasonable efforts to comply (or obtain an
         Order from the Bankruptcy Court waiving compliance) with all requirements under the
         Bankruptcy Code and the Bankruptcy Rules in connection with obtaining approval of the
         transactions contemplated by this Agreement. Sellers shall serve (i) all Persons who are
         known to possess or assert a Claim against or Interest in any of the Purchased Assets, (ii)
         the IRS, (iii) all applicable Governmental Entities, (iv) all applicable state and local
         Governmental Entities with taxing authority, (v) all other Persons required by any Order
         of the Bankruptcy Court, (vi) all parties to Business Contracts and Real Property Leases,
         and (vii) all Persons that request or are entitled to notice under Bankruptcy Rule 2002.

                (c)    The Parties shall use their respective commercially reasonable efforts to
         have the Bankruptcy Court enter the Sale Order as promptly as possible.

                 (d)    Sellers and Purchaser shall consult with one another regarding pleadings
         which any of them intends to file with the Bankruptcy Court in connection with, or which
         might reasonably affect the Bankruptcy Court’s approval of the Sale Order and shall
         provide each other with a reasonable opportunity to review and comment on such pleadings,
         related motions, applications, petitions schedules and supporting papers. Sellers shall
         promptly provide Purchaser and its counsel with copies of all notices, filings and orders of
         the Bankruptcy Court that Sellers have in their possession (or receive) pertaining to the
         Sale Motion, the Bid Procedures Order, the Sale Order, or any other order related to any of
         the transactions contemplated by this Agreement, but only to the extent such papers are not
         publicly available on the docket of the Bankruptcy Court or otherwise made available to
         Purchaser and its counsel.

                 (e)     If the Bid Procedures Order, the Sale Order, or any other orders of the
         Bankruptcy Court relating to this Agreement or the transactions contemplated hereby shall
         be appealed by any Person (or if any petition for certiorari or motion for reconsideration,
         amendment, clarification, modification, vacation, stay, rehearing or reargument shall be
         filed with respect to the Bid Procedures Order, the Sale Order, or other such order), subject
         to rights otherwise arising from this Agreement, Sellers and Purchaser shall use their
         commercially reasonable efforts to prosecute such appeal, petition or motion and obtain an
         expedited resolution of any such appeal, petition or motion.

         6.10      Sale Order.

                 (a)    Sellers and Purchaser acknowledge that this Agreement and the sale of the
         Purchased Assets are subject to Bankruptcy Court approval. Sellers and Purchaser
         acknowledge that (i) to obtain such approval, Sellers must demonstrate that they have taken
         steps to obtain the highest or otherwise best offer possible for the Purchased Assets
         including giving notice of the transactions contemplated by this Agreement to creditors
         and certain other interested parties as ordered by the Bankruptcy Court and, if necessary,


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         conducting the Auction and (ii) Purchaser must provide adequate assurance of future
         performance under the Business Contracts and Real Property Leases included in the
         Purchased Assets.

                   (b)    The Sale Order shall, among other things:

                           (i)    approve, pursuant to Sections 105, 363 and 365 of the Bankruptcy
                   Code, (A) the execution, delivery and performance by Sellers of this Agreement,
                   (B) the transfer of the Purchased Assets to Purchaser free and clear of all Liens,
                   Claims, and Liabilities of any kind whatsoever (other than Permitted Liens), and
                   (C) the timely performance by Sellers of their obligations under this Agreement;

                          (ii)   authorize and empower Sellers to assume and assign the Business
                   Contracts and Real Property Leases to Purchaser;

                           (iii) find that Purchaser is a “good faith” buyer within the meaning of
                   Section 363(m) of the Bankruptcy Code and grant Purchaser the full benefits and
                   protections of Section 363(m) of the Bankruptcy Code;

                          (iv)   find that this Agreement was negotiated, proposed and entered into
                   by Sellers and Purchaser without collusion, in good faith and from arm’s length
                   bargaining positions;

                          (v)   find that due and adequate notice and an opportunity to be heard in
                   accordance with all applicable Laws were given to the necessary parties in the
                   Bankruptcy Cases;

                            (vi)  contain findings of fact and conclusions of law that Purchaser (A) is
                   not a successor to, or subject to successor liability for, any Seller, (B) has not, de
                   facto or otherwise, merged with or into any Seller, (C) is not an alter ego or a
                   continuation of any Seller, and (D) does not have any responsibility for any
                   obligations of any Seller based on any theory of successor or similar theories of
                   liability;

                          (vii)   find that the Purchase Price is fair and reasonable;

                          (viii) find that the Bankruptcy Court retains jurisdiction to resolve any
                   claim or dispute arising out of or related to this Agreement; and

                          (ix)   contain such other terms and conditions as are acceptable to Sellers
                   and Purchaser in their respective sole discretion.

                 (c)   Purchaser agrees that it will promptly take such actions as are reasonably
         requested by Sellers to assist in obtaining entry by the Bankruptcy Court of the Sale Order,
         including furnishing affidavits or other documents or information for filing with the
         Bankruptcy Court for purposes, among others, of (i) demonstrating that Purchaser is a
         “good faith” purchaser and (ii) establishing “adequate assurance of future performance”
         within the meaning of Section 365 of the Bankruptcy Code.

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         6.11      [Reserved].

        6.12 Transfer of Permits. Except for those Business Permits that are not transferable to
Purchaser by Law, the Parties shall use commercially reasonable efforts to cause the issuance or
transfer of all of the Business Permits described on Schedule 1.2(g) and shall give and make all
notices and reports that such Party is required to make to the appropriate Governmental Entities
and other Persons with respect to such Business Permits. All costs and expenses associated with
the issuance or transfer of the Business Permits shall be borne by Purchaser.

        6.13 Expenses. Except to the extent otherwise specifically provided herein, whether or
not the transactions contemplated hereby are consummated, all fees, costs and expenses incurred
in connection with this Agreement and the transactions contemplated hereby shall be borne by the
Party incurring such fees, costs and expenses.

        6.14 Confidentiality. From and after the date of this Agreement, Purchaser and Sellers
shall continue to be bound by and comply with the obligations of the Confidentiality Agreement
except as otherwise required under or necessary to comply with any provision of the Bankruptcy
Code, Bankruptcy Rules, applicable law, any order of the Bankruptcy Court, including, without
limitation, the Bid Procedures Order, or the provisions of this Agreement. Except as specifically
provided in the proviso to this sentence, unless otherwise agreed to by the Parties, at the later of
(i) the Designation Deadline or (ii) the end of the remainder of the term set forth in the
Confidentiality Agreement, the Confidentiality Agreement shall be deemed to have been
terminated by the parties thereto and shall no longer be binding; provided, that notwithstanding
anything in this Section 6.14 to the contrary, to the extent that Purchaser is in possession of any
Information (as defined in the Confidentiality Agreement) regarding Sellers and their respective
Affiliates, or the Excluded Assets or the Excluded Liabilities, Purchaser shall continue to be bound
by the Confidentiality Agreement with respect to such Information until the date that is two years
after the Closing, if the Closing occurs; provided, further, that notwithstanding anything in this
Section 6.14 to the contrary, to the extent that any Seller is in possession of any Information (as
defined in the Confidentiality Agreement) related to the Purchased Assets, the Assumed Liabilities,
or the Business, such Seller and its respective Representatives shall continue to be bound by this
Section 6.14 until the earlier of (a) the date that is two years after the Closing, if the Closing occurs,
and (b) until such time as Sellers and their respective Representatives no longer retain copies of
such Information.


                                           ARTICLE VII
                                        Conditions to Closing

        7.1      Conditions to Sellers’ Obligations. The obligation of Sellers to consummate the
transaction contemplated hereby is subject to the fulfillment of all of the following conditions on
or prior to the Closing Date and as of the Closing Date, upon the non-fulfillment of any of which
this Agreement may, at Sellers’ option, be terminated to the extent permitted pursuant to and with
the effect set forth in Article IX:

                 (a)    The representations and warranties of Purchaser contained in Article V shall
         be true and correct in all material respects at and as of the Closing Date as if made at and


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         as of such time (except to the extent such representations and warranties speak as of an
         earlier date, in which case, such representations and warranties shall be true and correct in
         all material respects as of such earlier date).

                (b)    All obligations of Purchaser to be performed hereunder through, and
         including on, the Closing Date (including, without limitation, all obligations which
         Purchaser would be required to perform at the Closing if the transaction contemplated
         hereby was consummated) shall have been performed in all material respects, unless
         waived by Sellers.

                 (c)     Purchaser shall have delivered or caused to be delivered to Sellers each of
         the items set forth in Section 3.4(b).

                (d)     No Governmental Entity of competent jurisdiction shall have entered a valid
         Order that is in effect and has the effect of making the Closing illegal or otherwise
         prohibiting the consummation of the Closing.

                 (e)    The Sale Order shall have been entered by the Bankruptcy Court approving
         the transactions contemplated under this Agreement.

        7.2     Conditions to Purchaser’s Obligations. The obligation of Purchaser to consummate
the transaction contemplated hereby is subject to the fulfillment of all of the following conditions
on or prior to the Closing Date and as of the Closing Date (in each case, so long as Purchaser has
complied with its obligations under this Agreement with respect to each of the matters set forth
below), upon the non-fulfillment of any of which this Agreement may, at Purchaser’s option, be
terminated to the extent permitted pursuant to and with the effect set forth in Article IX:

                 (a)     The representations and warranties of Sellers in Article IV shall be true and
         correct in all respects as of the time of the Closing as though such representations and
         warranties were made at and as of such time (or, if made as of a specific date in the text of
         such representations and warranties, at and as of such date), interpreted without giving
         effect to any Material Adverse Effect or materiality qualifications or exceptions contained
         therein, except where the failure to be so true and correct would not have a Material
         Adverse Effect.

                 (b)    All obligations of Sellers to be performed hereunder through, and including
         on, the Closing Date (including, without limitation, all obligations which Sellers would be
         required to perform at the Closing if the transaction contemplated hereby was
         consummated) shall have been performed in all material respects.

                 (c)     Sellers shall have delivered or caused to be delivered to Purchaser each of
         the items set forth in Section 3.4(a).

                (d)     No Governmental Entity of competent jurisdiction shall have entered a valid
         Order that is in effect and has the effect of making the Closing illegal or otherwise
         prohibiting the consummation of the Closing.



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                (e)     The Sale Order shall have each been entered by the Bankruptcy Court
         approving the transactions contemplated under this Agreement.

         7.3     Frustration of Closing Conditions. No Party may rely on the failure of any
condition set forth in this Article VII to be satisfied if such failure was caused by such Party’s
failure to act in good faith or such Party’s failure to comply with Section 6.3.


                                           ARTICLE VIII
                                            Termination

       8.1    Termination Events. This Agreement and the transaction contemplated hereby may
only be terminated as follows, at any time prior to the Closing:

                   (a)   by the mutual written consent of Purchaser and Sellers;

                (b)    by either Purchaser or Sellers upon (i) the issuance of a final and non-
         appealable Order by a Governmental Entity to restrain, enjoin or otherwise prohibit the
         purchase and sale transaction contemplated hereby, (ii) the appointment of an examiner
         with expanded powers or a Chapter 11 trustee in the Bankruptcy Cases, or (iii) the
         Bankruptcy Cases being converted into a case under Chapter 7 of the Bankruptcy Code or
         dismissed;

                 (c)     by either Purchaser or Sellers if the Bankruptcy Court has not entered the
         Sale Order by December 10, 2021, provided that such date may be extended as otherwise
         agreed to in writing by Purchaser and Sellers; provided, however, that Purchaser’s right to
         terminate this Agreement under this Section 8.1(c) shall not be available to Purchaser if
         Purchaser’s failure to fulfill any of its obligations under this Agreement has been the cause
         of, or resulted in, the failure of the Sale Order to have been entered on or prior to the
         aforesaid date;

                 (d)    by Purchaser, (i) if any condition set forth in Sections 7.2(a) through (c),
         inclusive, becomes incapable of being satisfied prior to the Termination Date (other than
         through the failure of Purchaser to comply with its obligations under this Agreement) and
         Purchaser has not waived such condition,(ii) if the Closing shall not have occurred at or
         before 5:00 p.m. (New York City Time) on December 17, 2021, or such later date as
         extended in accordance with the Bid Procedures Order with the Purchaser’s consent (such
         date, as may be extended, the “Termination Date”); provided, however, that Purchaser’s
         right to terminate this Agreement under this clause (ii) of this Section 8.1(d) shall not be
         available to Purchaser if Purchaser’s failure to fulfill any of its obligations under this
         Agreement has been the cause of, or resulted in, the failure of the Closing to occur on or
         prior to the Termination Date, (iv) at any time following the date that is November 30,
         2021 if Purchaser is not declared the Winning Bidder, or (v) at any time if the Bankruptcy
         Court has not entered an order by 11:59 p.m. (New York City Time) on the date that is one
         (1) Business Day after the date of this Agreement approving the reimbursement of up to
         $1,000,000 of Purchaser’s documented costs and expenses (including fees and expenses of
         legal counsel) incurred in connection with evaluating, negotiating and entering into this


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         Agreement; provided, however, that Purchaser’s right to terminate this Agreement under
         this clause (v) of this Section 8.1(d) shall not be available to Purchaser if Purchaser’s
         failure to fulfill any of its obligations under this Agreement has been the sole cause of the
         failure of the Court to enter such an order by the prescribed deadline;

                 (e)    by Sellers, (i) if any condition set forth in Section 7.1(a) through (c),
         inclusive, becomes incapable of being satisfied prior to the Termination Date (other than
         through the failure of Sellers to comply with their obligations under this Agreement) and
         Sellers have not waived such condition, (ii) at any time following the date that is November
         30, 2021 if Purchaser is not declared the Winning Bidder, or (iii) if the Closing shall not
         have occurred at or before 5:00 p.m. (New York City time) on the Termination Date; and

                (f)     automatically upon Bankruptcy Court approval of an Alternative
         Transaction.

        8.2    Effect of Termination. In the event of the termination of this Agreement pursuant
to Section 8.1 by Purchaser, on the one hand, or Sellers, on the other hand, written notice thereof
shall forthwith be given to the other specifying the provision hereof pursuant to which such
termination is made, and this Agreement shall be terminated and become void and have no effect
and there shall be no Liability hereunder on the part of any Party, except that Section 3.2 (Good
Faith Escrow Deposit), Section 6.14 (Expense), this Section 8.2 and Article X (Miscellaneous) and
the defined terms and rules of construction used therein and set forth on Appendix I shall survive
any termination of this Agreement; provided, however, that (a) subject to the terms and conditions
of Section 3.2(c), no Party shall be relieved of or released from any Liability arising from any
material breach by such Party of any provision of this Agreement, and (b) the Confidentiality
Agreement shall remain in full force and effect.


                                            ARTICLE IX
                                              Survival

        9.1      Survival; Certain Post-Closing Matters. Purchaser and Sellers acknowledge and
agree that: (a) the representations and warranties set forth in this Agreement and in the documents
and instruments delivered or entered into in connection with this Agreement (other than the
Transition Services Agreement) shall not survive the Closing and shall expire immediately upon
the Closing; and (b) the covenants and agreements of Sellers set forth in this Agreement and in
any documents and instruments delivered or entered into by the Parties in connection with this
Agreement (other than the Transition Services Agreement), in each case that do not by their terms
extend beyond the Closing, shall not survive the Closing and shall expire immediately upon the
Closing. Accordingly, for clarification purposes, it is acknowledged, understood and agreed by
the Parties that no Party shall have any liability or other obligation following the Closing with
respect to any breach by such Party or claimed breach by such Party of (x) except with respect to
the Transition Services Agreement, any representations or warranties contained in this Agreement
or any of the documents or instruments delivered or entered into by the Parties in connection with
this Agreement or (y) any of the Parties’ covenants and agreements contained in this Agreement
or any of the documents or instruments delivered or entered into by the Parties in connection with
this Agreement (other than the Transition Services Agreement) that do not by their terms extend


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beyond the Closing. Notwithstanding anything expressed or implied herein to the contrary, the
Parties acknowledge and agree that (1) Purchaser shall be solely responsible for the ownership of
the Purchased Assets from and after the Closing Date or the applicable date of designation (except
as otherwise provided in the Transition Services Agreement), as applicable, and acts or omissions
of Purchaser with respect thereto, and (2) Sellers shall have no responsibility or obligation with
respect to, or arising out of, any of the foregoing. Notwithstanding anything in this Agreement to
the contrary, nothing herein shall operate in any manner to limit a claim or remedy for any actual
and intentional fraud by any Person including any Party.


                                          ARTICLE X
                                          Miscellaneous

         10.1 Notices. All notices, requests, demands and other communications under this
Agreement shall be in writing and shall be deemed to have been duly given: (a) on the day of
service if served personally on the party to whom notice is to be given; (b) on the day of
transmission if delivered by electronic mail during regular business hours on a Business Day and,
if not, then on the following Business Day; or (c) on the day of delivery (if a Business Day, and if
not a Business Day, on the next Business Day) if sent by Federal Express or similar overnight
courier or United States mail:

                       If to Sellers:

                       Addressed to:

                       Limetree Bay Services, LLC, et al.
                       c/o B. Riley Advisory Services
                       3500 Maple Avenue, Suite 420
                       Dallas, TX 75219
                       Attn: Mark Shapiro
                       Email: mshapiro@brileyfin.com

                       with a copy to:

                       Baker & Hostetler LLP
                       200 South Orange Avenue
                       Suite 2300
                       Orlando, FL 32801
                       Attn: Elizabeth A. Green
                       Email: egreen@bakerlaw.com

                       and

                       Baker & Hostetler LLP
                       45 Rockefeller Plaza
                       New York, NY 10111
                       Attn: Jorian L. Rose


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                       Email: jrose@bakerlaw.com

                       If to Purchaser:

                       Addressed to:

                       St. Croix Energy, LLLP
                       5030 Anchor Way, Suite 13
                       Christiansted, VI 00920
                       Attn: Yohana Manning
                       Email: ymanning@stcroixenergy.com

                       with a copy to:

                       Ropes & Gray LLP
                       1211 Avenue of the Americas
                       New York, New York 10036
                       Attention:    Gregg Galardi; Jonathan Gill; Matthew Roose
                       Email: Gregg.Galardi@ropesgray.com; Jonathan.Gill@ropesgray.com;
                               Matthew.Roose@ropesgray.com


Any Party may change its address for the purpose of this Section 10.2 by giving the other Party
written notice of its new address in the manner set forth above.

        10.2 Entire Agreement. This Agreement, the agreements, documents and instruments to
be delivered by the Parties pursuant to the provisions hereof, the Transaction Documents, and the
Confidentiality Agreement, each as may be amended or supplemented, constitute the entire
agreement between the Parties and shall be binding upon and inure to the benefit of the Parties
hereto and their respective legal representatives, successors and permitted assigns. This
Agreement supersedes the Initial Asset Purchase Agreement. Each Appendix, Exhibit, Schedule
and the Seller Disclosure Letter, each as may be amended or supplemented, shall be considered
incorporated into this Agreement. The inclusion of any item in the Seller Disclosure Letter is not
evidence of the materiality of such item for the purposes of this Agreement. Purchaser
acknowledges that any estimates, forecasts, or projections furnished or made available to it
concerning Sellers or the Business or their properties, business or assets have not been prepared in
accordance with GAAP or standards applicable under any securities laws, and such estimates,
forecasts and projections, including any reflected in financial statements, reflect numerous
assumptions, and are subject to material risks and uncertainties. Purchaser acknowledges that
actual results may vary, perhaps materially, and Purchaser is not relying on any such estimates,
forecasts or projections.

        10.3 Severability. Whenever possible, each provision of this Agreement shall be
interpreted in such manner as to be effective and valid under applicable law, but if any provision
of this Agreement is held to be invalid, illegal or unenforceable in any respect under any applicable
law or rule in any jurisdiction, such invalidity, illegality or unenforceability shall not affect any
other provision or any other jurisdiction, and, for purposes of such jurisdiction, such provision or


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portion thereof shall be struck from the remainder of this Agreement, which shall remain in full
force and effect. This Agreement shall be reformed, construed and enforced in such jurisdiction
so as to best give effect to the intent of the Parties under this Agreement.

        10.4 Binding Effect; Benefit. This Agreement shall inure to the benefit of and be binding
upon the Parties hereto, and their successors and permitted assigns. Nothing in this Agreement,
express or implied, shall confer on any Person other than the Parties hereto, and their respective
successors and permitted assigns any rights, remedies, obligations or liabilities under or by reason
of this Agreement, including, without limitation, third party beneficiary rights. Nothing in this
Agreement is intended to relieve or discharge the obligations or liability of any third Persons to
Sellers or Purchaser. No provision of this Agreement shall give any third Persons any right of
subrogation or action over or against Sellers or Purchaser.

         10.5 Assignability. This Agreement and the various rights and obligations arising
hereunder inure to the benefit of and are binding upon Sellers and their respective successors and
permitted assigns, and Purchaser and its successors and permitted assigns. Neither this Agreement
nor any of the rights, interests or obligations hereunder may be transferred or assigned (including
by operation of law in connection with a merger or sale of stock, or sale of substantially all the
assets, of a Person) by any of the Parties hereto without the prior written consent of the other Party
or Parties (not to be unreasonably withheld, conditioned or delayed); provided that Purchaser may,
without any required consent from any other Party, assign or transfer this Agreement or any of its
rights or obligations hereunder (a) to any of its Affiliates, (b) to any acquirer of all or substantially
all of the Purchased Assets or Purchaser after the Closing or (c) as a collateral assignment to its or
its Affiliates lenders in connection with any debt financing arrangements of Purchaser or its
Affiliates. No assignment shall relieve a Party of its liability or obligations hereunder.
Notwithstanding anything expressed or implied herein to the contrary, following the Closing,
Sellers (or any of them) may assign all or any portion of their rights hereunder in accordance with
an Order of the Bankruptcy Court.

       10.6 Amendments. Except as otherwise authorized herein with respect to the Schedules
and disclosures to this Agreement, this Agreement shall not be modified or amended except
pursuant to an instrument in writing executed and delivered on behalf of each of the Parties hereto.

        10.7 Non-Waiver. Except as otherwise contemplated herein, the failure in any one or
more instances of a Party to insist upon performance of any of the terms, covenants or conditions
of this Agreement, to exercise any right or privilege in this Agreement conferred, or the waiver by
such Party of any breach of any of the terms, covenants or conditions of this Agreement, shall not
be construed as a subsequent waiver of any such terms, covenants, conditions, rights or privileges,
but the same shall continue and remain in full force and effect as if no such forbearance or waiver
had occurred.

       10.8 Applicable Law. This Agreement shall be governed and controlled as to validity,
enforcement, interpretation, construction, effect and in all other respects by the internal laws of the
State of Texas applicable to contracts made in that state and the applicable provisions of the
Bankruptcy Code, without giving effect to any choice of law or conflict of law provision or rule
that would cause the application of laws of any other jurisdiction.



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        10.9 Consent to Jurisdiction. Purchaser and Sellers agree that the Bankruptcy Court
shall retain sole jurisdiction over any legal action or proceeding with respect to this Agreement.
Each of Purchaser and Sellers irrevocably waives any objection, including any objection to the
laying of venue or based on the grounds of forum non conveniens, which it may now or hereafter
have to the bringing of any action or proceeding in such jurisdiction in respect of this Agreement
or the transactions contemplated hereby. Purchaser and Sellers consent to the jurisdiction and
authority of the Bankruptcy Court, including, without limitation, to the entry of final orders,
decrees and judgments with respect to any matters arising under or relating to this Agreement or
the transaction(s) contemplated hereby.

     10.10 WAIVER OF TRIAL BY JURY. EACH OF THE PARTIES HERETO
WAIVES THE RIGHT TO A JURY TRIAL IN CONNECTION WITH ANY SUIT,
ACTION OR PROCEEDING SEEKING ENFORCEMENT OF SUCH PARTY’S RIGHTS
UNDER THIS AGREEMENT.

       10.11 Counterparts. This Agreement may be executed in multiple counterparts, each of
which shall be deemed an original and all of which together shall constitute one instrument. This
Agreement may be executed through the exchange of scanned .pdf signature pages, which shall
have the same legal effect as original signatures.

       10.12 Headings. The headings contained in this Agreement are for convenience of
reference only and shall not affect the meaning or interpretation of this Agreement.

        10.13 Time of the Essence. Time is of the essence of this Agreement. When calculating
the period of time before which, within which or following which, any act is to be done or step
taken pursuant to this Agreement, the date that is the reference date in calculating such period shall
be excluded. If the last day of such period is a non-Business Day, the period in question shall end
on the next succeeding Business Day.
        10.14 Rules of Construction. The Parties acknowledge and agree that each has negotiated
and reviewed the terms of this Agreement, assisted by such legal and tax counsel as they desired,
and has contributed to its revisions, and, as such, each of the Parties shall be deemed drafters of
this Agreement and equally responsible for any ambiguities contained herein. The Parties further
agree that the rule of construction that any ambiguities are resolved against the drafting party will
be subordinated to the principle that the terms and provisions of this Agreement will be construed
fairly as to all Parties and not in favor of or against any Party. The word “including” means
“including, without limitation.” The phrase “ordinary course of business” or words of similar
import shall mean the ordinary course of business consistent with past custom and practice, subject,
in the case of Sellers or the Business, to changes in the business, operations or custom or practice
of Sellers to the extent resulting from matters arising as a result of, or in connection with, Sellers’
status as filers under Chapter 11 of the Bankruptcy Code.


                                 [SIGNATURE PAGES FOLLOW]




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        IN WITNESS WHEREOF, the Parties have executed this Asset Purchase Agreement as of
the date first above written.

                                         SELLERS:



                                         Limetree Bay Services, LLC


                                         By:
                                         Name: Mark Shapiro
                                         Title: Chief Restructuring Officer



                                         Limetree Bay Refining Holdings, LLC


                                         By:
                                         Name: Mark Shapiro
                                         Title: Chief Restructuring Officer



                                         Limetree Bay Refining Holdings II, LLC


                                         By:
                                         Name: Mark Shapiro
                                         Title: Chief Restructuring Officer



                                         Limetree Bay Refining, LLC


                                         By:
                                         Name: Mark Shapiro
                                         Title: Chief Restructuring Officer




                       Signature Page to Asset Purchase Agreement
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                                        Limetree Bay Refining Operating, LLC


                                        By:
                                        Name: Mark Shapiro
                                        Title: Chief Restructuring Officer


                                        Limetree Bay Refining Marketing, LLC


                                        By:
                                        Name: Mark Shapiro
                                        Title: Chief Restructuring Officer




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                                       PURCHASER:

                                       St. Croix Energy, LLLP


                                       By:
                                       Name: Yohana Manning
                                       Title: Partner




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                                           APPENDIX 1

                                        DEFINED TERMS

         As used in this Agreement, the following terms shall have the following meanings:

        “Additional Deposit Amount” means the amount of any Additional Deposit, as that term
is defined and used in the Bid Procedures Order.

       “Affiliate” with respect to any Person means any other Person who directly or indirectly
Controls, is Controlled by, or is under common Control with such Person including in the case of
any Person who is an individual, his or her spouse, any of his or her descendants (lineal or
adopted) or ancestors, and any of their spouses.

         “Agreement” is defined in the Introduction to this Agreement.

        “Alternative Transaction” means one or more sales, assignments, leases, transfers, or other
dispositions of all or any material portion of the Purchased Assets to any Person (or group of
Persons), whether in one transaction or a series of transactions, whether by merger, asset purchase,
equity purchase or other similar transaction, in each case other than to Purchaser or its Affiliates.

        “Antitrust Laws” means the Sherman Act, 15 U.S.C. §§ 1-7, as amended, the Clayton Act,
15 U.S.C. §§ 12-27, 29 U.S.C. §§ 52-53, as amended, the Hart-Scott-Rodino Antitrust
Improvements Act of 1976, 15 U.S.C. § 18a et seq., as amended, the Federal Trade Commission
Act, 15 U.S.C. § 41-58, as amended, and all other Laws and Orders that are designed or intended
to prohibit, restrict or regulate actions having the purpose or effect of monopolization, restraint of
trade, or lessening of competition through merger or acquisition.

         “Assumed Liabilities” is defined in Section 2.1.

       “Auction” means a sale in which the Purchased Assets shall be offered for sale to a bidder
or bidders making the highest or best offer, which will be scheduled by the Bankruptcy Court in
the Bankruptcy Cases.

       “Avoidance Actions” means any and all claims and causes of action of a Seller arising
under the Bankruptcy Code, including, without limitation, Sections 544, 545, 547, 548, 549 and
550 thereof.

       “Bankruptcy Cases” means, individually and collectively, the following chapter 11
bankruptcy cases pending in the Bankruptcy Court: (i) In re Limetree Bay Services, LLC, case no.
21-32351; (ii) In re Limetree Bay Refining Holdings, LLC, case no. 21-32352; (iii) In re Limetree
Bay Refining Holdings II, LLC, case no. 21-32353; (iv) In re Limetree Bay Refining, LLC, case no.
21-32354; (v) In re Limetree Bay Refining Operating, LLC, case no. 21-32355; and (vi) In re
Limetree Bay Refining Marketing, LLC, case no. 21-32356.

        “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, 11 U.S.C. §§ 101, et seq.,
as in effect on the Petition Date, and as amended effective as of the Petition Date.


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         “Bankruptcy Court” is defined in Recital B to this Agreement.

         “Bankruptcy Rules” is defined in Section 4.3.

        “Bid Procedures Order” means the order of the Bankruptcy Court, entered on August 11,
2021 at docket number 392 in the bankruptcy case of In re Limetree Bay Services, LLC, case no.
21-32351, as amended by the order of the Bankruptcy Court, entered on September 15, 2021 at
docket number 583, authorizing, among other things, the sale of the Purchased Assets and
assumption and assignment of the Business Contracts and Real Property Leases and the
assumption of the Assumed Liabilities pursuant to the bid procedures and bid protections set forth
therein.

       “Bill of Sale and Assignment and Assumption Agreement” means that certain bill of sale
and assignment and assumption agreement substantially in the form attached hereto as Exhibit B.

        “BP Receivables” means any and all funds payable by BP Products North America, Inc.,
or any affiliate or subsidiary thereof, to Sellers, or any of them, arising out of or related to the IFF
Property, the J. Aron Transaction Documents, the Tolling Agreement (as such terms are defined
and used in the Stipulation by and among Debtors, Committee, J. Aron & Company LLC, and BP
Products North America Inc. (appended to Doc. No. 697 filed in the Bankruptcy Cases) (the “BP
Stipulation”)), or any other agreement by and between Sellers, or any of them, and BP Products
North America, Inc., or any affiliate or subsidiary thereof, dated on or before the Closing Date,
including, without limitation, the Escrow Funds, Trade Contract Amounts, and Sale Reserve (as
such terms are defined and used in the BP Stipulation).

         “Business” is defined in Recital A of this Agreement.

         “Business Contracts” is defined in Section 1.2(a).

        “Business Day” means any day other than Saturday, Sunday and any day that is a legal
holiday or a day on which banking institutions in Houston, Texas are permitted or required to be
closed.

         “Business Intellectual Property” is defined in Section 1.2(h).

         “Business IT Assets” is defined in Section 1.2(i).

         “Business Permits” is defined in Section 1.2(g).

        “Business Real Property” means the Purchased Real Property and the real property subject
to the Real Property Leases.

       “Claim” means a claim against any or all of Sellers, whether or not asserted, as defined in
Section 101(5) of the Bankruptcy Code.

         “Closing” is defined in Section 3.3.

         “Closing Date” is defined in Section 3.3.

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         “Closing Payment” is defined in Section 3.1.

         “Code” means the Internal Revenue Code of 1986, as amended.

       “Confidentiality Agreement” means that certain Confidentiality Agreement entered into by
and between Sellers and Purchaser on or about August 24, 2021.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through ownership of securities, by
contract or otherwise.

       “Consent” means any authorization, approval, consent, ratification, negative clearance,
waiver, notice or filing, or a Final Order of the Bankruptcy Court that deems, or renders
unnecessary, the same.

      “Contract” means any note, bond, mortgage, indenture, guaranty, license, franchise, permit,
agreement, contract, commitment, lease, purchase order, or other instrument or obligation, and any
amendments thereto.

        “Cure Amounts” means with respect to any Business Contract or Real Property Lease, the
amount of cash required to be paid with respect to such Business Contract or Real Property Lease
to cure all defaults under such Business Contract or Real Property Lease to the extent required by
Section 365 of the Bankruptcy Code and to otherwise satisfy all requirements imposed by Section
365 of the Bankruptcy Code in order to effectuate, pursuant to the Bankruptcy Code, the
assumption by a Seller and assignment to Purchaser of such Business Contract or Real Property
Lease.

         “DIP Agent” shall have the meaning ascribed to such term in the Bid Procedures Order.

         “Designated Contract” is defined in Section 1.4(b).

         “Designation Deadline” is defined in Section 1.4(c).

         “Disclaimed Contract” is defined in Section 1.4(c).

        “Environmental Law” means any law, Order or other requirement of law for the protection
of the environment, or for the manufacture, use, transport, treatment, storage, disposal, release or
threatened release of Hazardous Materials, petroleum products, asbestos, urea formaldehyde
insulation, polychlorinated biphenyls or any substance listed, classified or regulated as “hazardous”
or “toxic” or any similar term under such Environmental Law.

        “Environmental Liabilities” means all Liabilities (including the costs of any Remedial
Action) arising in connection with or in any way relating to the Business (as currently or formerly
conducted), the Purchased Assets or any property currently or formerly owned, leased or operated
in connection with the Business (as currently or formerly conducted) or the Purchased Assets
(including the activities and operations conducted by anyone thereon, offsite disposal therefrom
and Hazardous Materials migrating thereto or therefrom), that in each case arise under or relate to
any Environmental Law, Environmental Permit or a Hazardous Material, including Liabilities

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arising from any Third Party claims for personal injury, death, or property damage caused by an
actual or alleged release of, or exposure to, a Hazardous Material.

        “Environmental Permits” means all environmental, health and safety permits, licenses,
registrations, and approvals and authorizations from Governmental Entities.

         “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

       “Escrow Agent” means GlassRatner Advisory & Capital LLC, doing business as B. Riley
Advisory Services or, if GlassRatner Advisory & Capital LLC, doing business as B. Riley
Advisory Services is unable or unwilling to act as the Escrow Agent, such other Person as is
mutually agreed upon by Purchaser and Sellers.

       “Event” means any action, omission, state of facts, condition, occurrence, result,
circumstance, event, effect, development or change.

         “Excluded Assets” is defined in Section 1.3.

         “Excluded Furniture and Equipment” is defined in Section 1.3(p).

         “Excluded Insurance Recoveries” is defined in Section 1.3(i).

       “Excluded Intellectual Property” means all rights to Intellectual Property that are owned
by a Seller, other than the Business Intellectual Property.

        “Excluded IT Assets” means all rights to Information Technology that are owned by Seller,
other than the Business IT Assets.

         “Excluded Liabilities” is defined in Section 2.1.

       “Excluded Real Property” means all real property owned by a Seller, other than the
Purchased Real Property.

         “Files and Records” means all current and historical information, data, databases, reports,
plans, schedules, correspondence, files, documents, books and other records and information,
including (a) customer, vendor, supplier, contractor and service provider lists and records, (b) sales,
pricing and performance data and records generated from completed or active transactions
(including billing, payment and dispute histories, credit information and similar data), (c) business
plans, financial statements, corporate, Tax, human resource, legal, regulatory and financial data
and records, (d) operating and production records, quality control records, market research reports,
technical documentation (drawings, specifications, process instructions, statistics, functional
requirements, operating instructions, manual, etc.) and user documentation (installation guides,
manuals, training material working paper, etc.), (e) employment and personnel records, (f) all of
the plant diagrams and drawings, equipment diagrams and drawings, equipment manuals, “as built”
books, operating manuals, maintenance histories and records, civil engineering drawings, PFDs,
PI&Ds and other such technical documents relating to the Seller Facilities and (g) regulatory
filings, documents or other information relating to any Proceeding, in each case with respect to
clauses (a) through (g), of Seller, whether in paper, electronic, digital or other form or medium,

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and that relate primarily to the Purchased Assets or Assumed Liabilities; provided, that Files and
Records shall not include (i) any files, documents, books or other records to the extent relating to
any existing or anticipated Tax litigations or disputes (to the extent that such litigation or disputes
are, or are related to any, Excluded Liabilities hereunder), (ii) any information which, if transferred
to Purchaser or its Affiliates, would reasonably be expected to violate any applicable Law or Order
or the terms of any Contract and (iii) any items described in clauses (a) through (g) that relate
primarily to any Excluded Assets or any Excluded Liabilities.

        “Final Order” means an order or judgment of the Bankruptcy Court (or any other court of
competent jurisdiction) entered by the clerk of the Bankruptcy Court (or such other court) on the
docket in the Bankruptcy Cases (or the docket of such other court), which is and remains in full
force and effect, has not been modified, amended, reversed, vacated or stayed and as to which (i)
the time to appeal, petition for certiorari, or move for a new trial, re-argument or rehearing has
expired and as to which no appeal, petition for certiorari or motion for new trial, re-argument or
rehearing shall then be pending or (ii) if an appeal, writ of certiorari new trial, re-argument or
rehearing thereof has been sought, such order or judgment of the Bankruptcy Court (or other court
of competent jurisdiction) shall have been affirmed by the highest court to which such order was
appealed, or certiorari shall have been denied, or a new trial, re-argument or rehearing shall have
been denied or resulted in no modification of such order, and the time to take any further appeal,
petition for certiorari or move for a new trial, re-argument or rehearing shall have expired, as a
result of which such order shall have become final in accordance with Rule 8002 of the Federal
Rules of Bankruptcy Procedure; provided, that the possibility that a motion under Rule 60 of the
Federal Rules of Civil Procedure, or any analogous rule under the Federal Rules of Bankruptcy
Procedure, may be filed relating to such order, shall not cause an order not to be a Final Order.

        “Furniture and Equipment” means all furniture, furnishings, equipment, vehicles,
machinery, cranes, forklifts, tools, truck racks, fixtures, consumables and other tangible personal
property owned by a Seller, including artwork, desks, chairs, tables, miscellaneous office
furnishings, copiers, scanners, printers, telephone lines and numbers, telecopy machines and other
telecommunication equipment, cubicles and supplies.

      “GAAP” means United States generally accepted accounting principles, applied in a
manner consistent with the preparation of the Financial Statements.

         “Good Faith Deposit Amount” means $2,000,000, which amount is to be deposited with
the Escrow Agent in accordance with the terms of this Agreement and held and released pursuant
to the terms and subject to the conditions set forth in this Agreement, plus an amount equal to any
Additional Deposit Amount.

        “Governmental Entity” means any multinational, United States or non-United States,
federal, state, territory, provincial or local court (including, for the avoidance of doubt, the
Bankruptcy Court), arbitral tribunal, administrative agency, legislature or commission or other
governmental, quasi-governmental or regulatory agency or authority (including any bureau,
division or department thereof) or any securities exchange.

       “Hazardous Materials” means all explosive or radioactive substances or wastes, and all
hazardous or toxic substances, wastes or other pollutants, including petroleum or petroleum

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distillates, asbestos or asbestos containing materials, polychlorinated biphenyls, radon gas,
infectious or medical wastes and all other substances or wastes of any nature regulated pursuant to
any Environmental Law.

       “Improvements” means any and all buildings, structures, fixtures or other improvements
owned by or leased to a Seller that are attached or affixed to the Business Real Property (including
all construction and work-in-progress), including above ground and underground piping and
storage tanks, canopies, signage, terminals, fixtures, pumps and appurtenances, equipment,
personal property of a permanent nature and other similar facilities; provided, however, that the
Excluded Furniture and Equipment shall not be considered “Improvements”.

        “Indebtedness” of any Person means (a) any obligations or indebtedness (i) for borrowed
money or indebtedness issued or incurred in substitution or exchange for indebtedness for
borrowed money, (ii) evidenced by any note, bond, debenture, mortgage or other debt instrument
or debt security, (iii) for the deferred purchase price of property or service, (iv) for the
reimbursement of any obligor on any letter of credit, banker’s acceptance, guarantee or similar
credit transaction (but only to the extent drawn upon or if there has been a demand made for
reimbursement thereunder) and (v) under any commodity, swap, derivative, currency, interest rate,
call, hedge or similar agreement, (b) any obligations of any kind referred to in the foregoing clause
(a) above guaranteed or secured, directly or indirectly, in any manner by such Person (including
by a Lien on the assets or properties of such Person whether or not such obligations are
assumed) ,and (c) any accrued and unpaid principal, interest, premiums, penalties, pre-payment
penalties, fees, expenses, “make-whole” or similar payments, indemnities and breakage costs
owing by such Person with respect to any indebtedness of a type described in clauses (a) or (b);
provided, that Indebtedness of any Seller shall not include accounts payable to trade creditors or
accrued expenses, in each case, arising in the ordinary course of business of any Seller.

         “Indemnified Parties” is defined in Section 1.4(i).

       “Information Technology” means all computers, computer systems, servers, workstations,
databases, and software programs.

        “Intellectual Property” means (a) patents and patent applications, (b)trademarks, service
marks, trade dress, and all registrations and applications for the same, (c) Internet domain names,
(d) registered and unregistered copyrights and applications for the same, and (e) trade secrets.

         “Initial Asset Purchase Agreement” is defined in Recital C of this Agreement.

         “IRS” means the United States Internal Revenue Service.

        “J. Aron Receivables” means any and all amounts payable to Sellers, or any of them,
directly or indirectly, under the J. Aron Transaction Documents (as defined in Final Order (I)
Authorizing the Debtors to (A) Obtain Postpetition Senior Secured Superpriority Financing and
(B) Use Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
Modifying the Automatic Stay, and (IV) Granting Related Relief entered in the Bankruptcy Cases),
or any of them.


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       “Knowledge of Sellers” means the actual knowledge of Sellers, or any of them, without
giving effect to imputed knowledge or giving rise to any duty to investigate.

       “Law” means any statute, law, ordinance, ruling, policy, rule or regulation of any
Governmental Entity and all judicial or administrative interpretations thereof and any common
law doctrine.

        “Liabilities” means any and all Indebtedness, Taxes, losses, charges, debts, damages,
obligations, payments, costs and expenses, bonds, indemnities, liabilities and obligations of any
nature, including any unknown, undisclosed, unmatured, unaccrued, unasserted, contingent,
indirect, conditional, implied, vicarious, derivative, joint, several or secondary liability, regardless
of whether such claim, debt, obligation, duty or liability would be required to be disclosed on a
balance sheet prepared in accordance with GAAP and regardless of whether such claim, debt,
obligation, duty or liability is immediately due and payable.

        “Liens” means any liens (as defined in Section 101(37) of the Bankruptcy Code), debts (as
defined in Section 101(12) of the Bankruptcy Code), security interests, Claims, easements,
mortgages, charges, indentures, deeds of trust, rights of way, encroachments, or any other
encumbrances and other restrictions or limitations on ownership or use of real or personal property
or irregularities in title thereto.

        “Loss” or “Losses” means, without duplication, any and all Liabilities, judgments, awards,
losses, costs or damages, including reasonable fees and expenses of attorneys, accountants and
other professional advisors.

         “Material Adverse Effect” means a material adverse effect on the business or financial
condition of the Business, taken as a whole; provided that the foregoing shall not include any event,
circumstance, change, occurrence, fact or effect resulting from or relating to (A) changes in
economic conditions generally or in any region in which Sellers or the Business operate,
(B) changes in United States or global financial markets in general, (C) changes, occurrences or
developments in or related to the general industry or industries (or portions thereof) in which
Sellers or the Business operate or are materially related thereto, (D) changes in law, GAAP or any
authoritative interpretations thereof, (E) any action taken or failed to be taken by Sellers or any of
their Affiliates or representatives at the request of Purchaser or that is required or contemplated by
this Agreement, (F) a failure to meet Sellers’ projections, or any changes in the prices or
availability of raw materials used in the Business, (G) the identity of, or any action taken by,
Purchaser or any of its Affiliates or representatives, (H) the Bankruptcy Cases, (I) the
announcement and performance of this Agreement and the other transactions contemplated by this
Agreement, including termination of, reduction in or similar negative impact on relationships,
contractual or otherwise, with any customers, suppliers, distributors, partners, officers or
employees of the Business, (J) any actions required under this Agreement to obtain any approval
or authorization required under applicable antitrust or competition laws for the consummation of
the transactions contemplated by this Agreement, (K) acts of war (whether or not declared), armed
hostilities, sabotage or terrorism occurring after the date of this Agreement or the continuation,
escalation or worsening of any such acts of war, armed hostilities, sabotage or terrorism threatened
or underway as of the date of this Agreement, or (L) earthquakes, hurricanes, floods, or other
natural disasters.

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         “Material Contracts” is defined in Section 4.7(b).

       “NRI Consignment Agreement” means that certain Master Consignment Agreement dated
as of March 9, 2021 by and between Limetree Bay Refining, LLC and NRI Industrial Sales LLC.

      “NRI Receivables” means any and all amounts payable to Sellers under the NRI
Consignment Agreement.

        “Order” means any judgment, order, injunction, decree, writ, permit or license issued or
entered by or with any Governmental Entity or any arbitrator, whether preliminary, interlocutory
or final, including any order entered by the Bankruptcy Court in the Bankruptcy Cases (including
the Sale Order).

        “Parts Inventory” means the inventories of supplies, maintenance and capital spares, joints,
valves, parts and tools owned by a Seller as of the Closing that are (x) stored in the warehouses
located on the Business Real Property or (y) used primarily in connection with the Business.

         “Party” and “Parties” are defined in the Introduction to this Agreement.

      “Permits” means all licenses, permits, registrations and approvals from or with a
Governmental Entity other than the Environmental Permits.

        “Permitted Liens” means (a) statutory Liens or other Liens arising in the ordinary course
of business of Sellers (including by operation of law) securing payments not yet due, including
mechanics’, carriers’, workmen’s, repairmen’s, materialmens’ and maritime Liens, (b) Liens for
Taxes not yet due and payable or for Taxes that may thereafter be paid without penalty or which
are being contested in good faith and by appropriate Proceedings, (c) Liens set forth in Section 1.1
of the Seller Disclosure Letter, (d) Liens affecting the Business Real Property with respect to (i)
zoning, building code or planning restrictions or regulations, servitudes, permits, licenses, surface
leases, ground leases to utilities, municipal agreements, railway siding agreements and other
similar rights, easements for streets, alleys, highways, telephone lines, gas pipelines, power lines
and railways, and other easements and rights of way of public record on, over, or in respect of any
such real property and (ii) encroachments and other matters that would be shown in an accurate
survey or physical inspection of such real property that, in each case of (i) and (ii) of this clause
(d) above, do not, individually or in the aggregate, materially interfere with the use, operation or
occupancy of such real property for the Business, (e) Liens arising pursuant to any Environmental
Permit, and (f) any Lien that will be extinguished at or prior to Closing.

         “Person” means and include an individual, a partnership, a limited partnership, a limited
liability partnership, a joint venture, a corporation, a limited liability company, an association, a
trust, an unincorporated organization, a group and a Governmental Entity.

         “Petition Date” is defined in Recital B of this Agreement.

       “Post-Closing Litigation Liabilities” means all Liabilities arising from a Proceeding first
commenced after the Closing (or, in the case of any Purchased Assets that are designated for
assignment to Purchaser following the Closing, after the date of such designation and assignment)
by a Third Party against Purchaser, a Seller or any of their respective Affiliates, in respect of the
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Purchased Assets or the Assumed Liabilities that is based on any Event first existing, arising or
occurring following the Closing (or, in the case of any Purchased Assets that are designated for
assignment to Purchaser following the Closing, after the date of such designation and assignment);
provided, that the Parties agree and acknowledge that Post-Closing Litigation Liabilities shall not
include any Environmental Liabilities, which are separately addressed in this Agreement.

        “Post-Closing Period” means all taxable years or other taxable periods that begin after the
Closing Date and, with respect to any taxable year or other taxable period beginning on or before
and ending after the Closing Date, the portion of such taxable year or period beginning on the day
after the Closing Date.

       “Pre-Closing Period” means all taxable years or other taxable periods that end on or before
the Closing Date and, with respect to any taxable year or other taxable period beginning on or
before and ending after the Closing Date, the portion of such taxable year or period ending on the
Closing Date.

      “Prepetition Secured Parties” shall have the meaning ascribed to such term in the Bid
Procedures Order.

         “Proceeding” means any claim, demand, action, arbitration, audit, hearing, investigation,
litigation, suit or other proceeding (whether civil, criminal, administrative, investigative, or
informal) commenced, brought, conducted, or heard by or before, or otherwise involving, any
Third Party (including any Governmental Entity).

       “Property Taxes” means all real property Taxes, personal property Taxes and other similar
ad valorem Taxes, in each case, that are imposed with respect to the Purchased Assets.

         “Purchase” is defined in Recital C of this Agreement.

       “Purchase Price” means cash in an amount equal to $20,000,000, plus the assumption by
Purchaser of the Assumed Liabilities.

         “Purchased Assets” is defined in Section 1.1.

         “Purchased Claims” is defined in Section 1.2(l).

         “Purchased Real Property” is defined in Section 1.2(b).

         “Purchaser” is defined in the Introduction to this Agreement.

       “Quarterly Refinery Payments” has the meaning ascribed to such term in that certain
Refinery Operating Agreement, dated July 2, 2018 (as amended, amended and restated or
otherwise modified from time to time), by and among the Government of the U.S. Virgin Islands
and LBR.

         “Real Property” means the Purchased Real Property and the Excluded Real Property.

         “Real Property Leases” is defined in Section 1.2(d).

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         “Released Claims” is defined in Section 9.2.

         “Releasee” is defined in Section 9.2.

         “Releasor” is defined in Section 9.2.

       “Remedial Action” means any action to investigate, abate, clean up, remove or remediate
(or words of similar import), or conduct remedial or corrective actions, including sampling and/or
monitoring activities, with respect to Hazardous Materials in the environment.

        “Representatives” of any Person means such Person’s directors, managers, officers,
employees, agents, attorneys, consultants, advisors, financing sources or other Persons acting on
behalf of such Person.

        “Returns” means all returns, statements, forms, reports and other similar documentation
relating to Taxes, including any schedules, exhibits and other attachments thereto and any
amendments thereof.

        “Sale Motion” means Debtor’s Motion for Entry of Orders (a)(i) Establishing Bidding
Procedures Relating to the Sale of the Debtor’s Assets, (ii) Establishing Procedures Relating to the
Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, Including
Notice of Proposed Cure Amounts, (iii) Approving Form and Manner of Notice Relating Thereto,
and (iv) Scheduling a Hearing to Consider the Proposed Sale; (b)(i) Approving the Sale of the
Debtor’s Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, and (ii)
Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases; and (c) Granting Related Relief filed by Sellers in the Bankruptcy Court on [___________]
[__], 2021.

        “Sale Order” means an Order of the Bankruptcy Court approving this Agreement,
containing the findings and conclusions set forth in Section 6.11, and authorizing and directing
Sellers to consummate the transactions contemplated by this Agreement (including, but not limited
to, the assumption and assignment of the Business Contracts and Real Property Leases) under
Sections 105, 363 and 365 of the Bankruptcy Code, in form and substance acceptable to Sellers
and Purchaser in their respective sole discretion.

         “Seller” and “Sellers” are defined in the Introduction to this Agreement.

         “Seller Access Indemnitees” is defined in Section 6.1(b).

         “Seller Disclosure Letter” is defined in Article IV.

       “Seller Facilities” means the facilities and related equipment owned by a Seller located on
the Business Real Property, including all Improvements related thereto; provided, that, for the
avoidance of doubt, the Seller Facilities shall not include any Excluded Assets.

        “Taxes” means (a) all taxes, however denominated, and all like charges, levies, duties,
imposts, unclaimed property, escheat obligations or other assessments, including any interest,
penalties or additions to tax that may become payable in respect thereof, imposed by any

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Government, which taxes shall include all income taxes, payroll and employee withholding,
unemployment insurance, social security (or similar), sales and use, excise, franchise, gross
receipts, occupation, real and personal property, stamp, transfer, workmen’s compensation,
customs duties, registration, documentary, value added, alternative or add-on minimum, estimated,
environmental (including taxes under Section 59A of the Code) and other obligations of the same
or a similar nature, whether arising before, on or after the Closing Date and (b) any transferee,
successor or other liability in respect of Taxes of another (whether by contract or otherwise) and
any liability in respect of any Taxes as a result of any company being a member of any “affiliated
group” as defined in Section 1504 of the Code, or any analogous combined, consolidated or unitary
group defined under state, local or foreign Tax law.

         “Termination Date” is defined in Section 9.1(d).

        “Third Party” means any Person other than the Parties and their respective Affiliates
(including, for the avoidance of doubt, any Governmental Entity).

        “Transaction Documents” means the Sale Order, Transition Services Agreement, Bill of
Sale and Assignment and Assumption Agreement, and any other documents executed by the
Parties or orders entered by the Bankruptcy Court to facilitate the transaction(s) envisioned under
this Agreement.

         “Transfer Taxes” is defined in Section 6.8.

        “Transition Services Agreement” means a Transition Services Agreement, to be entered
into as of the Closing by and among Purchaser and the Sellers (or an appropriate Affiliate thereof),
in substantially the form of Exhibit C.

         “Winning Bid” shall have the meaning ascribed to such term in the Bid Procedures Order.

         “Winning Bidder” shall have the meaning ascribed to such term in the Bid Procedures
Order.




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                                                   EXHIBIT C

              AMENDED MILESTONES AND BID PROCEDURES DEADLINES

 Event                               Current Milestone                          New Milestone
 Sale Milestone                      December 14, 2021                          December 17, 2021

 Event                               Current Date/Deadline                      New Date/Deadline
 Deadline to file the                November 30, 2021                          November 30, 2021
 Designation of Winning Bid
 Expected Service of Notice of       November 30, 2021 – December 1, November 30, 2021 – December
 Designation of Winning Bid          2021                            1, 2021
 and Sale Hearing
 Deadline to file Sale Order         November 30, 2021                          December 3, 2021
 and transactional documents
 Deadline to object to the Sale      December 6, 2021 at 5:00 p.m. CT  December 6, 2021 at 5:00 p.m.
                                                                       CT
 Deadline to reply to                December 7, 2021 at 2:00 p.m. CT, December 7, 2021 at 2:00 p.m.
 objection(s) to the Sale            subject to supplementation during CT, subject to supplementation
                                     Sale Hearing                      during Sale Hearing
 Sale Hearing (subject to            December 7, 2021                  December 7, 2021, at 4:00 p.m.
 Court availability)                                                   CT
 Expected entry of Sale Order        December 9, 2021                  December 9, 2021
 Deadline for Winning Bidder         December 10, 2021,                December 17, 2021,
 to close sale transaction           at 5:00 p.m. CT                   at 5:00 p.m. CT
 Deadline for Back-up Bidder         December 13, 2021,                TBD
 to close sale transaction (if       at 5:00 p.m. CT
 applicable)
 Deadline to file Amended            November 10, 2021                          April 8, 2022
 Notice of Potential
 Assumption and Assignment
 of Executory Contracts9
 Contract Assumption                 December 6, 2021 at 5:00 p.m. CT           April 29, 2022
 Objection Deadline
 Designation Deadline (per           N/A                                        May 16, 2022 (subject to
 APA)10                                                                         extension per APA)




9
  The deadlines to file Amended Designation of Winning Bid to add or remove Purchased Contracts are not consistent
with the terms of the APA and, as such, have been deleted from the list of Bidding Procedures Deadlines; provided,
that the removal of these deadlines shall not affect the rights of St. Croix to designate contracts for assumption and
assignment in accordance with the terms of the APA and sale order.
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   The Designation Deadline is not subject to the Bid Procedures Order and is included solely for reference. Under
the APA, the Designation Deadline is subject to two (2) 90-day extensions, for a total of 180 days, beyond the initial
term of 150 days (as noted above). The Designation Deadline is calculated based on an anticipated closing date of
December 17, 2021.
